      Case 2:25-cv-00241-BHS           Document 71-2        Filed 03/12/25     Page 1 of 48

                                 SECRETARY OF DEFENSE
                                 1000 DEFENSE PENTAGON
                                WASHINGTON. DC 20301-1000


                                                                              FEB 2 2 2018

MEMORANDUM FOR THE PRESIDENT

SUBJECT: Military Service by Transgender Individuals

       "Transgender·' is a term describing those persons whose gender identity differs from their
biological sex. A subset of transgender persons diagnosed with gender dysphoria experience
discomfort with their biological sex. resulting in significant distress or difficulty functioning.
Persons diagnosed with gender dysphoria often seek to transition their gender through prescribed
medical treatments intended to relieve the distress and impaired functioning associated with their
diagnosis.

         Prior to your election, the previous administration adopted a policy that allowed for the
accession and retention in the Armed Forces of transgender persons who had a history or
diagnosis of gender dysphoria. The policy also created a procedure by which such Service
members could change their gender. This policy was a clepa11ure from decades-long military
personnel policy. On June 30, 2017. before the new accession standards were set to take effect. I
approved the recommendation of the Services to delay for an additional six months the
implementation of these standards to evaluate more carefully their impact on readiness and
lethality. To that end. I established a study group that included the representatives of the Service
Secretaries and senior military officers, many with combat experience. to conduct the review.

         While this revie\v was ongoing, on August 25.2017. you sent me and the Secretary of
Homeland Security a memorandum expressing your concern that the previous administration's
new policy ·•failed to identify a sufficient basis·· for changing longstanding policy and that
··further study is needed to ensure that continued implementation of last year's policy change
would not have ... negative effects." You then directed the Department of Defense and the
Department of Homeland Security to reinstate the preexisting policy concerning accession of
transgender individuals ··until such time as a sufficient basis exists upon which to conclude that
terminating that policy.. would not ··hinder military effectiveness and lethality, disrupt unit
cohesion. or tax military resources.'· You made clear that we could advise you --at any time, in
writing. that a change to this policy is warranted:·

        I created a Panel of Experts comprised of senior uniformed and civilian Defense
Department and U.S. Coast Guard leaders and directed them to consider this issue and develop
policy proposals based on data, as well as their professional military judgment, that would
enhance the readiness, lethality. and effectiveness of our military. This Panel included combat
veterans to ensure that our military purpose remained the foremost consideration. I charged the
Panel to provide its best military advice, based on increasing the lethality and readiness of
America· s armed forces, without regard to any external factors.

        The Panel met with and received input from transgender Service members commanders
                                                                                .
of transgender Service members, military medical professionals. and civilian medical
      Case 2:25-cv-00241-BHS          Document 71-2        Filed 03/12/25     Page 2 of 48




professionals with experience in the care and treatment of individuals with gender dysphoria.
The Panel also reviewed available information on gender dysphoria, the treatment of gender
dysphoria, and the effects of currently serving individuals with gender dysphoria on military
effectiveness, unit cohesion, and resources. Unlike previous reviews on military service by
transgender individuals, the Panel's analysis was informed by the Department's own data
obtained since the new policy began to take effect last year.

        Based on the work of the Panel and the Department's best military judgment, the
Department of Defense concludes that there are substantial risks associated with allowing the
accession and retention of individuals with a history or diagnosis of gender dysphoria and
require, or have already undertaken, a course of treatment to change their gender. Furthermore,
the Department also finds that exempting such persons from well-established mental health,
physical health, and sex-based standards, which apply to all Service members, including
transgender Service members without gender dysphoria, could undermine readiness, disrupt unit
cohesion, and impose an unreasonable burden on the military that is not conducive to military
effectiveness and lethality.

        The prior administration largely based its policy on a study prepared by the RAND
National Defense Research Institute; however, that study contained significant shortcomings. It
referred to limited and heavily caveated data to support its conclusions, glossed over the impacts
of healthcare costs, readiness, and unit cohesion, and erroneously relied on the selective
experiences of foreign militaries with different operational requirements than our own. In short,
this policy issue has proven more complex than the prior administration or RAND assumed.

        I firmly believe that compelling behavioral health reasons require the Department to
proceed with caution before compounding the significant challenges inherent in treating gender
dysphoria with the unique, highly stressful circumstances of military training and combat
operations. Preservation of unit cohesion. absolutely essential to military effectiveness and
lethality, also reaffirms this conclusion.

      Therefore, in light of the Panel's professional military judgment and my own professional
judgment, the Department should adopt the following policies:

       • Transgender persons with a history or diagnosis of gender dysphoria are disqualified
         from military service, except under the following limited circumstances: (1) if they
         have been stable for 36 consecutive months in their biological sex prior to accession;
         (2) Service members diagnosed with gender dysphoria after entering into service may
         be retained if they do not require a change of gender and remain deployable within
         applicable retention standards; and (3) currently serving Service members who have
         been diagnosed with gender dysphoria since the previous administration's policy took
         effect and prior to the effective date of this new policy, may continue to serve in their
         preferred gender and receive medically necessary treatment for gender dysphoria.

       •   Transgender persons who require or have undergone gender transition are disqualified
           from military service.


                                                2
     Case 2:25-cv-00241-BHS            Document 71-2        Filed 03/12/25      Page 3 of 48




        •   Transgender persons without a history or diagnosis of gender dysphoria, who are
            otherwise qualified for service, may serve, like all other Service members, in their
            biological sex.

       I have consulted with the Secretary of Homeland Security, and she agrees with these
proposed policies.

         By its very nature, military service requires sacrifice. The men and women who serve
voluntarily accept limitations on their personal liberties - freedom of speech, political activity,
freedom of movement - in order to provide the military lethality and readiness necessary to
ensure American citizens enjoy their personal freedoms to the fullest extent. Further, personal
characteristics, including age, mental acuity, and physical fitness - among others - matter to
field a lethal and ready force.

        In my professional judgment, these policies will place the Department of Defense in the
strongest position to protect the American people, to fight and win America's wars, and to ensure
the survival and success of our Service members around the world. The attached report provided
by the Under Secretary of Defense for Personnel and Readiness includes a detailed analysis of
the factors and considerations forming the basis of the Department's policy proposals.

       I therefore respectfully recommend you revoke your memorandum of August 25, 2017.
regarding Military Service by Transgender Individuals, thus allowing me and the Secretary of
Homeland Security with respect to the U.S. Coast Guard� to implement appropriate policies
concerning military service by transgender persons.




Attachment:
As stated

cc:
Secretary of Homeland Security




                                                  3
  Case 2:25-cv-00241-BHS   Document 71-2   Filed 03/12/25   Page 4 of 48




DEPARTMENT OF DEFENSE REPORT AND RECOMMENDATIONS
                        ON
     MILITARY SERVICE BY TRANSGENDER PERSONS




                            FEBRUARY 2018
         Case 2:25-cv-00241-BHS                           Document 71-2                   Filed 03/12/25                Page 5 of 48




                                                             Table of Contents
Executive Summary ............................................................................................................................. 2
History of Policies Concerning Transgender Persons ...................................................................... 7
     Transgender Policy Prior to the Carter Policy ................................................................................. 8
           A. Accession Medical Standards .............................................................................................. 8
           B. Retention Standards ........................................................................................................... 11
     The Carter Policy ........................................................................................................................... 12
           A. Changes to the DSM .......................................................................................................... 12
           B. The Department Begins Review ofTransgender Policy .................................................... J 3
           C. New Standards for Transgender Persons ........................................................................... 14
                  1. Retention Standards ......................................................................................................14
                 2. Accession Standards .....................................................................................................15
Panel of Experts Recommendation................................................................................................... 17
Recommended Policy ......................................................................................................................... 19
      Discussion of Standards ................................................................................................................. 19
           A. Mental Health Standards....................................................................................................19
           B. Physical Health Standards .................................................................................................. 27
           C. Sex-Based Standards .......................................................................................................... 28
     New Transgender Policy ................................................................................................................ 32
           A. Transgender Persons Without a History or Diagnosis of Gender Dysphoria, Who Are
              Otherwise Qualified for Service, May Serve, Like All Other Service Members, in Their
              Biological Sex ................................................................................................................... 32
           B. Transgender Persons Who Require or Have Undergone Gender Transition Are
              Disqualified ....................................................................................................................... 32
                   1. Undermines Readiness ............................................................................................... 32
                  2. Incompatible with Sex-Based Standards .................................................................... 35
                   3. Imposes Disproportionate Costs ................................................................................. 41
           C. Transgender Persons With a History or Diagnosis of Gender Dysphoria Are Disqualified,
              Except Under Certain Limited Circumstances....................................................................41
                   I. Accession of Individuals Diagnosed with Gender Dysphoria .................................... 42
                   2. Retention ofService Members Diagnosed with Gender Dysphoria ........................... 42
                   3. Exempting Current Service Members Who Have Already Received a Diagnosis of
                       Gender Dysphoria...................................................................................................... 42
Conclusion........................................................................................................................................... 44
      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25        Page 6 of 48




                                            Executive Summary

       It is a bedrock principle of the Department of Defense that any eligible individual 1 who
can meet the high standards for military service without special accommodations should be
permitted to serve. This is no less true for transgender persons than for any other eligible
individual. This report, and the recommendations contained herein, proceed from this
fundamental premise.

        The starting point for determining a person's qualifications for military duty is whether
the person can meet the standards that govern the Armed Forces. Federal law requires that
anyone entering into military service be ''qualified, effective, and able-bodied."2 Military
standards are designed not only to ensure that this statutory requirement is satisfied but to ensure
the overall military effectiveness and lethality of the Armed Forces.

        The purpose of the Armed Forces is to fight and win the Nation's wars. No human
endeavor is more physically, mentally, and emotionally demanding than the life and death
struggle of battle. Because the stakes in war can be so high-both for the success and survival of
individual units in the field and for the success and survival of the Nation-it is imperative that
all Service members are physically and mentally able to execute their duties and responsibilities
without fail, even while exposed to extreme danger, emotional stress, and harsh environments.

        Although not all Service members will experience direct combat, standards that are
applied universally across the Armed Forces must nevertheless account for the possibility that
any Service member could be thrust into the crucible of battle at any time. As the Department
has made clear to Congress, '·[c]ore to maintaining a ready and capable military force is the
understanding that each Service member is required to be available and qualified to perform
assigned missions, including roles and functions outside of their occupation, in any setting."3
Indeed, there are no occupations in the military that are exempt from deployment.4 Moreover,
while non-combat positions are vital to success in war, the physical and mental requirements for
those positions should not be the barometer by which the physical and mental requirements for
all positions, especially combat positions, are defined. Fitness for combat must be the metric
against which all standards and requirements are judged. To give all Service members the best
chance of success and survival in war, the Department must maintain the highest possible
standards of physical and mental health and readiness across the force.

        While individual health and readiness are critical to success in war, they are not the only
measures of military effectiveness and lethality. A fighting unit is not a mere collection of
individuals; it is a unique social organism that, when forged properly, can be far more powerful
than the sum of its parts. Human experience over millennia-from the Spartans at Thermopylae
to the band of brothers of the 101st Airborne Division in World War II, to Marine squads
fighting building-to-building in Fallujah-teaches us this. Military effectiveness requires

1 10 U.S.C. §§ 504, 505(a), 12102(b).
2 IO U.S.C. § 505(a).
3
  Under Secretary of Defense for Personnel and Readiness, ·"Fiscal Year 2016 Report to Congress on the Review of
Enlistment of Individuals with Disabilities in the Armed Forces," pp. 8-9 (Apr. 2016).
4
  Id.

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          Case 2:25-cv-00241-BHS             Document 71-2           Filed 03/12/25         Page 7 of 48




transforming a collection of individuals into a single fighting organism-merging multiple
individual identities into one. This transformation requires many ingredients, including strong
leadership, training, good order and discipline, and that most intangible, but vital, of
ingredients-unit cohesion or, put another way, human bonding.

        Because unit cohesion cannot be easily quantified, it is too often dismissed, especially by
those who do not know what Justice Oliver Wendell Holmes called the "incommunicable
experience of war."5 But the experience of those who, as Holmes described, have been "touched
with fire" in battle and the experience of those who have spent their lives studying it attest to the
enduring, if indescribable, importance of this intangible ingredient. As Dr. Jonathan Shay
articulated it in his study of combat trauma in Vietnam, "[s]urvival and success in combat often
require soldiers to virtually read one another's minds, reflexively covering each other with as
much care as they cover themselves, and going to one another's aid with little thought for
safety."6 Not only is unit cohesion essential to the health of the unit, Dr. Shay found that it was
essential to the health of the individual soldier as well. "Destruction of unit cohesion," Dr. Shay
concluded, '·cannot be overemphasized as a reason why so many psychological injuries that
might have healed spontaneously instead became chronic."7

         Properly understood, therefore, military effectiveness and lethality are achieved through a
combination of inputs that include individual health and readiness, strong leadership, effective
training, good order and discipline, and unit cohesion. To achieve military effectiveness and
lethality, properly designed military standards must foster these inputs. And, for the sake of
efficiency, they should do so at the least possible cost to the taxpayer.

        To the greatest extent possible, military standards-especially those relating to mental
and physical health-should be based on scientifically valid and reliable evidence. Given the
life-and-death consequences of warfare, the Department has historically taken a conservative and
cautious approach in setting the mental and physical standards for the accession and retention of
Service members.

        Not all standards, however, are capable of scientific validation or quantification. Instead,
they are the product of professional military judgment acquired from hard-earned experience
leading Service members in peace and war or otherwise arising from expertise in military affairs.
Although necessarily subjective, this judgment is the best, if not only, way to assess the impact
of any given military standard on the intangible ingredients of military effectiveness mentioned
above-leadership, training, good order and discipline, and unit cohesion.

       For decades, military standards relating to mental health, physical health, and the
physiological differences between men and women operated to preclude from military service
transgender persons who desired to live and work as the opposite gender.



5 The Essential Holmes: Selections from the letters, Speeches, Judicial Opinions, and Other Writings of Oliver

Wendell Holmes, Jr., p. 93 (Richard Posner, ed., University of Chicago Press 1992).
6
 Jonathan Shay, Achilles in Vietnam, p. 61 (Atheneum 1994).
7
    Id. at 198.

                                                         3
      Case 2:25-cv-00241-BHS           Document 71-2        Filed 03/12/25      Page 8 of 48




        Relying on a report by an outside consultant, the RAND National Defense Research
Institute, the Department, at the direction of Secretary Ashton Carter, reversed that longstanding
policy in 2016. Although the new policy-the '"Carter policy"-did not permit all transgender
Service members to change their gender to align with their preferred gender identity, it did
establish a process to do so for transgender Service members who were diagnosed with gender
dysphoria-that is, the distress or impairment of functioning that is associated with incongruity
between one's biological sex and gender identity. It also set in motion a new accession policy
that would allow applicants who had a history of gender dysphoria, including those who had
already transitioned genders, to enter into military service, provided that certain conditions were
met. Once a change of gender is authorized, the person must be treated in all respects in
accordance with the person's preferred gender, whether or not the person undergoes any
hormone therapy or surgery, so long as a treatment plan has been approved by a military
physician.

        The new accession policy had not taken effect when the current administration came into
office. Secretary James Mattis exercised his discretion and approved the recommendation of the
Services to delay the Carter accession policy for an additional six months so that the Department
could assess its impact on military effectiveness and lethality. While that review was ongoing,
President Trump issued a memorandum to the Secretary of Defense and the Secretary of
Homeland Security with respect to the U.S. Coast Guard expressing that further study was
needed to examine the effects of the prior administration's policy change. The memorandum
directed the Secretaries to reinstate the longstanding preexisting accession policy until such time
that enough evidence existed to conclude that the Carter policy would not have negative effects
on military effectiveness, lethality, unit cohesion, and military resources. The President also
authorized the Secretary of Defense, in consultation with the Secretary of Homeland Security, to
address the disposition of transgender individuals who were already serving in the military.

        Secretary Mattis established a Panel of Experts that included senior uniformed and
civilian leaders of the Department and U.S. Coast Guard, many with experience leading Service
members in peace and war. The Panel made recommendations based on each Panel member's
independent military judgment. Consistent with those recommendations, the Department, in
consultation with the Department of Homeland Security, recommends the following policy to the
President:

         A.      Transgender Persons Without a History or Diagnosis of Gender Dysphoria, Who
Are Otherwise Qualified for Service. May Serve. Like All Other Service Members, in Their
Biological Sex. Transgender persons who have not transitioned to another gender and do not
have a history or current diagnosis of gender dysphoria-i.e., they identify as a gender other than
their biological sex but do not currently experience distress or impairment of functioning in
meeting the standards associated with their biological sex-are qualified for service, provided
that they, like all other persons, satisfy all standards and are capable of adhering to the standards
associated with their biological sex. This is consistent with the Carter policy, under which
transgender persons without a history or diagnosis of gender dysphoria must serve, like everyone
else, in their biological sex.




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      Case 2:25-cv-00241-BHS              Document 71-2           Filed 03/12/25       Page 9 of 48




        B.     Transgender Persons Who Require or Have Undergone Gender Transition Are
Disqualified. Except for those who are exempt under this policy, as described below, and except
where waivers or exceptions to policy are otherwise authorized, transgender persons who are
diagnosed with gender dysphoria, either before or after entry into service, and require transition­
related treatment, or have already transitioned to their preferred gender, should be ineligible for
service. For reasons discussed at length in this report, the Department concludes that
accommodating gender transition could impair unit readiness; undermine unit cohesion, as well
as good order and discipline, by blurring the clear lines that demarcate male and female
standards and policies where they exist; and lead to disproportionate costs. Underlying these
conclusions is the considerable scientific uncertainty and overall lack of high quality scientific
evidence demonstrating the extent to which transition-related treatments, such as cross-sex
hormone therapy and sex reassignment surgery-interventions which are unique in psychiatry
and medicine-remedy the multifaceted mental health problems associated with gender
dysphoria.

        C.      Transgender Persons With a History or Diagnosis of Gender Dysphoria Are
Disqualified, Except Under Certain Limited Circumstances. Transgender persons who are
diagnosed with, or have a history of, gender dysphoria are generally disqualified from accession
or retention in the Armed Forces. The standards recommended here are subject to the same
procedures for waiver or exception to policy as any other standards. This is consistent with the
Department's handling of other mental conditions that require treatment. As a general matter,
only in the limited circumstances described below should persons with a history or diagnosis of
gender dysphoria be accessed or retained.

               1. Accession ofIndividuals Diagnosed ·with Gender Dysphoria. Persons with a
history of gender dysphoria may access into the Armed Forces, provided that they can
demonstrate 36 consecutive months of stability (i.e., absence of gender dysphoria) immediately
preceding their application; they have not transitioned to the opposite gender; and they are
willing and able to adhere to all standards associated with their biological sex.

                2. Retention ofService Members Diagnosed with Gender Dysphoria.
Consistent with the Department's general approach of applying less stringent standards to
retention than to accession in order to preserve the Department's substantial investment in
trained personnel, Service members who are diagnosed with gender dysphoria after entering
military service may be retained without waiver, provided that they are willing and able to
adhere to all standards associated with their biological sex, the Service member does not require
gender transition, and the Service member is not otherwise non-deployable for more than 12
months or for a period of time in excess of that established by Service policy (which may be less
than 12 months). 8

               3.      Exempting Current Service Members Who Have Already Received a
Diagnosis of Gender Dysphoria. Transgender Service members who were diagnosed with
gender dysphoria by a military medical provider after the effective date of the Carter policy, but
before the effective date of any new policy, may continue to receive all medically necessary care,

8
 Under Secretary of Defense for Personnel and Readiness, ··DoD Retention Policy for Non-Deployable Service
Members" (Feb. 14, 2018).

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     Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25        Page 10 of 48




to change their gender marker in the Defense Enrollment Eligibility Reporting System (DEERS),
and to serve in their preferred gender, even after the new policy commences. This includes
transgender Service members who entered into military service after January 1, 2018, when the
Carter accession policy took effect by court order. The Service member must, however, adhere
to the Carter policy procedures and may not be deemed to be non-deployable for more than 12
months or for a period of time in excess of that established by Service policy (which may be less
than 12 months). While the Department believes that its solemn promise to these Service
members, and the investment it has made in them, outweigh the risks identified in this report,
should its decision to exempt these Service members be used by a court as a basis for
invalidating the entire policy, this exemption is and should be deemed severable from the rest of
the policy.

         Although the precise number is unknown, the Department recognizes that many
transgender persons who desire to serve in the military experience gender dysphoria and, as a
result, could be disqualified under the recommended policy set forth in this report. Many
transgender persons may also be unwilling to adhere to the standards associated with their
biological sex as required by longstanding military policy. But others have served, and are
serving, with distinction under the standards for their biological sex, like all other Service
members. Nothing in this policy precludes service by transgender persons who do not have a
history or diagnosis of gender dysphoria and are willing and able to meet all standards that apply
to their biological sex.

        Moreover, nothing in this policy should be viewed as reflecting poorly on transgender
persons who suffer from gender dysphoria, or have had a history of gender dysphoria, and are
accordingly disqualified from service. The vast majority of Americans from ages 17 to 24-that
is, 71%-are ineligible to join the military without a waiver for mental, medical, or behavioral
reasons. 9 Transgender persons with gender dysphoria are no less valued members of our Nation
than all other categories of persons who are disqualified from military service. The Department
honors all citizens who wish to dedicate, and perhaps even lay down, their lives in defense of the
Nation, even when the Department, in the best interests of the military, must decline to grant
their wish.

        Military standards are high for a reason-the trauma of war, which all Service members
must be prepared to face, demands physical, mental, and moral standards that will give all
Service members the greatest chance to survive the ordeal with their bodies, minds, and moral
character intact. The Department would be negligent to sacrifice those standards for any cause.
There are serious differences of opinion on this issue, even among military professionals, but in
the final analysis, given the uncertainty associated with the study and treatment of gender
dysphoria, the competing interests involved, and the vital interests at stake-our Nation's
defense and the success and survival of our Service members in war-the Department must
proceed with caution.




9
 The Lewin Group, Inc., ..Qualified Military Available (QMA) and Interested Youth: Final Technical Report,"
p. 26 (Sept. 2016).

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      Case 2:25-cv-00241-BHS                 Document 71-2            Filed 03/12/25          Page 11 of 48




                         History of Policies Concerning Transgender Persons

        For decades, military standards have precluded the accession and retention of certain
transgender persons. 10 Accession standards-i.e., standards that govern induction into the
Armed Forces-have historically disqualified persons with a history of '"transsexualism." Also
disqualified were persons who had undergone genital surgery or who had a history of major
abnormalities or defects of the genitalia. These standards prevented transgender persons,
especially those who had undergone a medical or surgical gender transition, from accessing into
the military, unless a waiver was granted.

        Although retention standards-i.e., standards that govern the retention and separation of
persons already serving in the Armed Forces-did not require the mandatory processing for
separation of transgender persons, it was a permissible basis for separation processing as a
physical or mental condition not amounting to a disability. More typically, however, such
Service members were processed for separation because they suffered from other associated
medical conditions or comorbidities, such as depression, which were also a basis for separation
processmg.

        At the direction of Secretary Carter. the Department made significant changes to these
standards. These changes-i.e., the "Carter policy"-prohibit the separation of Service members
on the basis of their gender identity and allow Service members who are diagnosed with gender
dysphoria to transition to their preferred gender.

        Transition-related treatment is highly individualized and could involve what is known as
a "'medical transition," which includes cross-sex hormone therapy, or a "surgical transition,"

10
   For purposes of this report, the Department uses the broad definition of .. transgender" adopted by the RAND
National Defense Institute in its study of transgender service: --an umbrella term used for individuals who have
sexual identity or gender expression that differs from their assigned sex at birth." RAND National Defense
Research Institute, Assessing the Implications ofAllowing Transgender Personnel to Serve Openly, p.75(RAND
Corporation 2016), available at hnps://www.rand.org/content/dam/rand/pubs/research_reports/RR1500/
RR1530/RAND_RR l 530.pdf(..RAND Study"). According to the Human Rights Campaign, '"[t]he transgender
community is incredibly diverse. Some transgender people identify as male or female, and some identify as
genderqueer, nonbinary, agender, or somewhere else on or outside of the spectrum of what we understand gender to
be." Human Rights Campaign, --understanding the Transgender Community," https://www.hrc.org/resources/
understanding-the-transgender-community(last visited Feb. 14, 2018). A subset of transgender persons are those
who have been diagnosed with gender dysphoria. According to the Diagnostic and Statistical Manual of Mental
Disorders published by the American Psychiatric Association, ..gender dysphoria'' is a '"marked incongruence
between one's experienced/expressed gender and assigned gender" that ••is associated with clinically significant
distress or impairment in social, occupational, or other important areas of functioning." American Psychiatric
Association, Diagnostic and Statistical Manual of Mental Disorders (DSM-5), pp. 452-53(5th ed. 2013). Based on
these definitions, a person can be transgender without necessarily having gender dysphoria(i.e., the transgender
person does not suffer ··clinically significant distress or impairment" on account of gender incongruity). A 2016
survey of active duty Service members estimated that approximately 1% of the force-8,980 Service members­
identify as transgender. Office of People Analytics, Department of Defense. "'2016 Workplace and Gender
Relations Survey of Active Duty Members, Transgender Service Members," pp. 1-2. Currently, there are 937 active
duty Service members who have been diagnosed with gender dysphoria since June 30. 2016. In addition. when
using the term "biological sex·· or --sex;· this report is referring to the definition of ..sex" in the RAND study: ··a
person's biological status as male or female based on chromosomes, gonads, hormones, and genitals (intersex is a
rare exception)." RAND Study at 75.

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      Case 2:25-cv-00241-BHS          Document 71-2       Filed 03/12/25     Page 12 of 48




which includes sex reassignment surgery. Service members could also forego medical transition
treatment altogether, retain all of their biological anatomy, and live as the opposite gender-this
is called a "social transition."

        Once the Service member's transition is complete, as determined by the member's
military physician and commander in accordance with his or her individualized treatment plan,
and the Service member provides legal documentation of gender change, the Carter policy allows
for the Service member's gender marker to be changed in the DEERS. Thereafter, the Service
member must be treated in every respect-including with respect to physical fitness standards;
berthing, bathroom, and shower facilities; and uniform and grooming standards-in accordance
with the Service member's preferred gender. The Carter policy, however, still requires
transgender Service members who have not changed their gender marker in DEERS, including
persons who identify as other than male or female, to meet the standards associated with their
biological sex.

        The Carter policy also allows accession of persons with gender dysphoria who can
demonstrate stability in their preferred gender for at least 18 months. The accession policy did
not take effect until required by court order, effective January 1, 2018.

        The following discussion describes in greater detail the evolution of accession and
retention standards pertaining to transgender persons.

Transgender Policy Prior to the Carter Policy

        A.        Accession Medical Standards

        DoD Instruction (DoDI) 6130.03, Medical Standards for Appointment, Enlistment, or
Induction in the Mi/ita,y Services, establishes baseline accession medical standards used to
determine an applicant's medical qualifications to enter military service. This instruction is
reviewed every three to four years by the Accession Medical Standards Working Group
(AMSWG), which includes medical and personnel subject matter experts from across the
Department, its Military Services, and the U.S. Coast Guard. The AMSWG thoroughly reviews
over 30 bodily systems and medical focus areas while carefully considering evidence-based
clinical information, peer-reviewed scientific studies, scientific expert consensus, and the
performance of existing standards in light of empirical data on attrition, deployment readiness,
waivers, and disability rates. The AMSWG also considers inputs from non-government sources
and evaluates the applicability of those inputs against the military's mission and operational
environment, so that the Department and the Military Services can formally coordinate updates
to these standards.

        Accession medical standards are based on the operational needs of the Department and
are designed to ensure that individuals are physically and psychologically ··qualified, effective,
and able-bodied persons"11 capable of performing military duties. Military effectiveness requires
that the Armed Forces manage an integrated set of unique medical standards and qualifications
because all military personnel must be available for worldwide duty 24 hours a day without
11 IO U.S.C. § 505(a).

                                                8
        Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 13 of 48




restriction or delay. Such duty may involve a wide range of demands, including exposure to
danger or harsh environments, emotional stress, and the operation of dangerous, sensitive, or
classified equipment. These duties are often in remote areas lacking immediate and
comprehensive medical support. Such demands are not normally found in civilian occupations,
and the military would be negligent in its responsibility if its military standards permitted
admission of applicants with physical or emotional impairments that could cause harm to
themselves or others, compromise the military mission, or aggravate any current physical or
mental health conditions that they may have.

       In sum, these standards exist to ensure that persons who are under consideration for
induction into military service are:

                •   free of contagious diseases that probably will endanger the health of other
                    personnel;
                •   free of medical conditions or physical defects that may require excessive time lost
                    from duty for necessary treatment or hospitalization, or probably will result in
                    separation from service for medical unfitness;
                •   medically capable of satisfactorily completing required training;
                •   medically adaptable to the military environment without the necessity of
                    geographical area limitations; and
                •   medically capable of performing duties without aggravation of existing physical
                    defects or medical conditions. 12

Establishing or modifying an accession standard is a risk management process by which a health
condition is evaluated in terms of the probability and effect on the five listed outcomes above.
These standards protect the applicant from harm that could result from the rigors of military duty
and help ensure unit readiness by minimizing the risk that an applicant, once inducted into
military service, will be unavailable for duty because of illness, injury, disease, or bad health.

          Unless otherwise expressly provided, a current diagnosis or verified past medical history
of a condition listed in DoDI 6130.03 is presumptively disqualifying. 13 Accession standards
reflect the considered opinion of the Department's medical and personnel experts that an
applicant with an identified condition should only be able to serve if they can qualify for a
waiver. Waivers are generally only granted when the condition will not impact the individual's
assigned specialty or when the skills of the individual are unique enough to warrant the
additional risk. Waivers are not generally granted when the conditions of military service may
aggravate the existing condition. For some conditions, applicants with a past medical history
may nevertheless be eligible for accession if they meet the requirements for a certain period of
'"stability"-that is, they can demonstrate that the condition has been absent for a defined period




12
     Department of Defense Instruction 6130.03, Medical Standards for Appointment. Enlistment, or Induction in the
Military Services (Apr. 28, 20 I 0), incorporating Change I, p. 2 (Sept. 13, 2011) t·DoDI 6130.03").
13 Id. at IO.




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      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 14 of 48




of time prior to accession. 14 With one exception, 15 each accession standard may be waived in the
discretion of the accessing Service based on that Service's policies and practices, which are
driven by the unique requirements of different Service missions, different Service occupations,
different Service cultures, and at times, different Service recruiting missions.

         Historically, mental health conditions have been a great concern because of the unique
mental and emotional stresses of military service. Mental health conditions frequently result in
attrition during initial entry training and the first term of service and are routinely considered by
in-service medical boards as a basis for separation. Department mental health accession
standards have typically aligned with the conditions identified in the Diagnostic and Statistical
Manual ofMental Disorders (DSM), which is published by the American Psychiatric
Association (APA). The DSM sets forth the descriptions, symptoms, and other criteria for
diagnosing mental disorders. Health care professionals in the United States and much of the
world use the DSM as the authoritative guide to the diagnosis of mental disorders.

        Prior to implementation of the Carter policy, the Department's accession standards barred
persons with a "[h]istory of psychosexual conditions, including but not limited to transsexualism,
exhibitionism, transvestism, voyeurism, and other paraphilias." 16 These standards were
consistent with DSM-III, which in 1980, introduced the diagnosis of transsexualism. 17 In 1987,
DSM-III-Radded gender identity disorder, non-transsexual type. 18 DSM-IV, which was
published in 1994, combined these two diagnoses and called the resulting condition ''gender
identity disorder." 19 Due to challenges associated with updating and publishing a new iteration
of DoDI 6130.03, the DoDI's terminology has not changed to reflect the changes in the DSM,
including further changes that will be discussed later.

        DoDI 6130.03 also contains other disqualifying conditions that are associated with, but
not unique to, transgender persons, especially those who have undertaken a medical or surgical
transition to the opposite gender. These include:

             •   a history of chest surgery, including but not limited to the surgical removal of the
                 breasts,20 and genital surgery, including but not limited to the surgical removal of
                 the testicles/ 1


14
   See. e.g., id. at 47.
15
   The accession standards for applicants with HIV are not waivable absent a waiver from both the accessing Service
and the Under Secretary of Defense for Personnel and Readiness. See Department of Defense Instruction 6485.0l,
Human Immunodeficiency Virus (HIV) in MilitalJ' Service Members (Jun. 7, 2013).
16
   DoDI 6130.03 at 48.
17
   American Psychiatric Association, Diagnostic and Statistical Manual ofMental Disorders (DSM-Ill). pp. 261-264
(3rd ed. 1980).
18
   American Psychiatric Association. Diagnostic and Statistical Manual of Mental Disorders (DSM-111-R}, pp. 76-77
(3rd ed. revised 1987).
19
   American Psychiatric Association, Diagnostic and Statistical Manual ofMental Disorders (DSM-IV). pp. 532-538
(4th ed. 1994 ).
20
   DoDI 6130.03 at 18.
21 Id. at 25-27.



                                                        10
         Case 2:25-cv-00241-BHS            Document 71-2      Filed 03/12/25      Page 15 of 48




                 • a history of major abnormalities or defects of the genitalia, including but not
                   limited to change of sex, hermaphroditism, penis amputation, and
                   pseudohermaphroditism;22
                 • mental health conditions such as suicidal ideation, depression, and anxiety
                   disorder-'23 and
                 • the use of certain medications, or conditions requiring the use of medications,
                   such as hormone therapies and anti-depressants. 24

Together with a diagnosis of transsexualism, these conditions, which were repeatedly validated
by the AMSWG, provided multiple grounds for the disqualification of transgender persons.

            B.       Retention Standards

        The standards that govern the retention of Service members who are already serving in
the military are generally less restrictive than the corresponding accession standards due to the
investment the Department has made in the individual and their increased capability to contribute
to mission accomplishment.

        Also unlike the Department's accession standards, each Service develops and applies its
own retention standards. With respect to the retention of transgender Service members, these
Service-specific standards may have led to inconsistent outcomes across the Services, but as a
practical matter, before the Carter policy, the Services generally separated Service members who
desired to transition to another gender. During that time, there were no express policies allowing
individuals to serve in their preferred gender rather than their biological sex.

       Previous Department policy concerning the retention (administrative separation) of
transgender persons was not clear or rigidly enforced. DoDI 1332.38, Physical Disability
Evaluation, now cancelled, characterized '·sexual gender and identity disorders" as a basis for
allowing administrative separation for a condition not constituting a disability; it did not require
mandatory processing for separation. A newer issuance� DoDI 1332.18, Disability Evaluation
System (DES), August 5, 2014, does not reference these disorders but instead reflects changes in
how such medical conditions are characterized in contemporary medical practice.

        Earlier versions of DoDI 1332.14, Enlisted Administrative Separations, contained a cross
reference to the list of conditions not constituting a disability in former DoDI 1332.38. This was
how '·transsexualism," the older terminology, was used as a basis for administrative separation.
Separation on this basis required formal counseling and an opportunity to address the issue, as
well as a finding that the condition was interfering with the performance of duty. In practice,
transgender persons were not usually processed for administrative separation on account of
gender dysphoria or gender identity itself, but rather on account of medical comorbidities (e.g.,
depression or suicidal ideation) or misconduct due to cross dressing and related behavior.



22 Id.
23
     Id. at 47-48.
24
     Id. at 48.

                                                    11
      Case 2:25-cv-00241-BHS                 Document 71-2           Filed 03/12/25          Page 16 of 48




The Carter Policy

        At the direction of Secretary Carter, the Department began formally reconsidering its
accession and retention standards as they applied to transgender persons with gender dysphoria
in 2015. This reevaluation, which culminated with the release of the Carter policy in 2016, was
prompted in part by amendments to the DSM that appeared to change the diagnosis for gender
identity disorder from a disorder to a treatable condition called gender dysphoria. Starting from
the assumption that transgender persons are qualified for military service, the Department sought
to identify and remove the obstacles to such service. This effort resulted in substantial changes
to the Department's accession and retention standards to accommodate transgender persons with
gender dysphoria who require treatment for transitioning to their preferred gender.

         A.       Changes to the DSM

        When the APA published the fifth edition of the DSM in May 2013, it changed ··gender
identity disorder" to ··gender dysphoria" and designated it as a ""condition"-a new diagnostic
class applicable only to gender dysphoria-rather than a ·•disorder. "25 This change was intended
to reflect the APA's conclusion that gender nonconformity alone-without accompanying
distress or impairment of functioning-was not a mental disorder. 26 DSM-5 also decoupled the
diagnosis for gender dysphoria from diagnoses for --sexual dysfunction and parphilic disorders,
recognizing fundamental differences between these diagnoses.,,21

       According to DSM-5, gender dysphoria in adolescents and adults is ··[a] marked
incongruence between one's experience/expressed gender and assigned gender, of at least 6
months' duration, as manifested by at least two of the following":

              • A marked incongruence between one's experienced/expressed gender and primary
                and/or secondary sex characteristics ( or in young adolescents. the anticipated
                secondary sex characteristics).
              • A strong desire to be rid of one's primary and/or secondary sex characteristics
                because of a marked incongruence with one's experienced/expressed gender ( or in
                young adolescents. a desire to prevent the development of the anticipated
                secondary sex characteristics).


25 See American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders (DSM-5), pp. 451-

459 (5th ed. 2013) (··DSM-5").
26 RAND Study at 77; see also Hayes Directory, ··sex Reassignment Surgery for the Treatment of Gender

Dysphoria" (May 15, 2014), p. I (..This change was intended to reflect a consensus that gender nonconformity is not
a psychiatric disorder, as it was previously categorized. However, since the condition may cause clinically
significant distress and since a diagnosis is necessary for access to medical treatment, the new term was proposed.");
Irene Folaron & Monica Lovasz, ""Military Considerations in Transsexual Care of the Active Duty Member."
Milita,y Medicine, Vol. 181, pp. 1182-83 (2016) (.. In the DSM-5, [gender dysphoria] has replaced the diagnosis of
·gender identity disorder' in order to place the focus on the dysphoria and to diminish the pathology associated with
identity incongruence.'').
27
   Irene Folaron & Monica Lovasz, --Military Considerations in Transsexual Care of the Active Duty Member,"
Military Medicine, Vol. 181, p. I I 83 (20 l 6).


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      Case 2:25-cv-00241-BHS               Document 71-2          Filed 03/12/25         Page 17 of 48




             •   A strong desire for the primary and/or secondary sex characteristics of the other
                 gender.
             •   A strong desire to be of the other gender (or some alternative gender different
                 from one's assigned gender).
             •   A strong desire to be treated as the other gender (or some alternative gender
                 different from one's assigned gender).
             •   A strong conviction that one has the typical feelings and reactions of the other
                 gender (or some alternative gender different from one's assigned gender).

Importantly, DSM-5 observed that gender dysphoria "is associated with clinically significant
distress or impairment in social, occupational, or other important areas of functioning. "28

        B.       The Department Begins Review of Transgender Policy

        On July 28, 2015, then Secretary Carter issued a memorandum announcing that no
Service members would be involuntarily separated or denied reenlistment or continuation of
service based on gender identity or a diagnosis of gender dysphoria without the personal
approval of the Under Secretary of Defense for Personnel and Readiness. 29 The memorandum
also created the Transgender Service Review Working Group (TSRWG) "to study the policy and
readiness implications of welcoming transgender persons to serve openly."30 The memorandum
specifically directed the working group to ··start with the presumption that transgender persons
can serve openly without adverse impact on military effectiveness and readiness, unless and
except where objective practical impediments are identified."31

        As part of this review, the Department commissioned the RAND National Defense
Research Institute to conduct a study to '"(I) identify the health care needs of the transgender
population, transgender Service members' potential health care utilization rates, and the costs
associated with extending health care coverage for transition-related treatments; (2) assess the
potential readiness impacts of allowing transgender Service members to serve openly; and (3)
review the experiences of foreign militaries that permit transgender Service members to serve
openly."32 The resulting report, entitled Assessing the Implications ofAllowing Transgender
Personnel to Serve Openly, reached several conclusions. First, the report estimated that there are
between 1,320 and 6,630 transgender Service members already serving in the active component
of the Armed Forces and 830 to 4,160 in the Selected Reserve. 33 Second, the report predicted
··annual gender transition-related health care to be an extremely small part of the overall health
care provided to the [active component] population."34 Third, the report estimated that active
component '"health care costs will increase by between $2.4 million and $8.4 million annually­
an amount that will have little impact on and represents an exceedingly small proportion of
28
   American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders (DSM-5), p. 453 (5th
ed. 2013).
29
   Memorandum from Ashton Carter, Secretary of Defense, ..Transgender Service Members" (July 28, 2015).
Jo Id.
31 Id.
32
   RAND Study at I.
33
   Id. at x-xi.
34
   Id. at xi.


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         Case 2:25-cv-00241-BHS        Document 71-2        Filed 03/12/25      Page 18 of 48




[active component] health care expenditures (approximately $6 billion in FY 2014)."35 Fourth,
the report "found that less than 0.0015 percent of the total available labor-years would be
affected, based on estimated gender transition-related health care utilization rates."36 Finally, the
report concluded that "[e ]xisting data suggest a minimal impact on unit cohesion as a result of
allowing transgender personnel to serve openly."37 "Overall," according to RAND, "our study
found that the number of U.S. transgende� Service members who are likely to seek transition­
related care is so small that a change in policy will likely have a marginal impact on health care
costs and the readiness of the force."38

         The RAND report thus acknowledged that there will be an adverse impact on health care
utilization and costs, readiness, and unit cohesion, but concluded nonetheless that the impact will
be '"negligible" and "marginal" because of the small estimated number of transgender Service
members relative to the size of the active component of the Armed Forces. Because of the
RAND report's macro focus, however, it failed to analyze the impact at the micro level of
allowing gender transition by individuals with gender dysphoria. For example, as discussed in
more detail later, the report did not examine the potential impact on unit readiness, perceptions
of fairness and equity, personnel safety, and reasonable expectations of privacy at the unit and
sub-unit levels, all of which are critical to unit cohesion. Nor did the report meaningfully
address the significant mental health problems that accompany gender dysphoria-from high
rates of comorbidities and psychiatric hospitalizations to high rates of suicide ideation and
suicidality-and the scope of the scientific uncertainty regarding whether gender transition
treatment fully remedies those problems.

             C.     New Standards for Transgender Persons

        Based on the RAND report, the work of the TSR WG, and the advice of the Service
Secretaries, Secretary Carter approved the publication of DoDI 1300.28, In-service Transition
for Service Members Identifying as Transgender, and Directive-type Memorandum (DTM) I 6-
005, '"Military Service of Transgender Service Members," on June 30, 2016. Although the new
retention standards were effective immediately upon publication of the above memoranda, the
accession standards were delayed until July 1, 2017, to allow time for training all Service
members across the Armed Forces, including recruiters, Military Entrance Processing Station
(MEPS) personnel, and basic training cadre, and to allow time for modifying facilities as
necessary.

                 1.      Retention Standards. DoDI 1300.28 establishes the procedures by which
Service members who are diagnosed with gender dysphoria may administratively change their
gender. Once a Service member receives a gender dysphoria diagnosis from a military
physician, the physician, in consultation with the Service member, must establish a treatment
plan. The treatment plan is highly individualized and may include cross-sex hormone therapy
(i.e., medical transition), sex reassignment surgery (i.e., surgical transition), or simply living as
the opposite gender but without any cross-sex hormone or surgical treatment (i.e., social

35 Id. at xi-xii.
36
     Id. at xii.
31 Id.
38 Id. at 69.



                                                  14
     Case 2:25-cv-00241-BHS         Document 71-2        Filed 03/12/25      Page 19 of 48




transition). The nature of the treatment is left to the professional medical judgment of the
treating physician and the individual situation of the transgender Service member. The
Department does not require a Service member with gender dysphoria to undergo cross-sex
hormone therapy, sex reassignment surgery, or any other physical changes to effectuate an
administrative change of gender. During the course of treatment, commanders are authorized to
grant exceptions from physical fitness, uniform and grooming, and other standards, as necessary
and appropriate, to transitioning Service members. Once the treating physician determines that
the treatment plan is complete, the Service member's commander approves, and the Service
member produces legal documentation indicating change of gender (e.g., certified birth
certificate, court order, or U.S. passport), the Service member may request a change of gender
marker in DEERS. Once the DEERS gender marker is changed, the Service member is held to
all standards associated with the member's transitioned gender, including uniform and grooming
standards, body composition assessment, physical readiness testing, Military Personnel Drug
Abuse Testing Program participation, and other military standards congruent to the member's
gender. Indeed, the Service member must be treated in all respects in accordance with the
member's transitioned gender, including with respect to berthing, bathroom, and shower
facilities. Transgender Service members who do not meet the clinical criteria for gender
dysphoria, by contrast, remain subject to the standards and requirements applicable to their
biological sex.

               2.     Accession Standards. DTM 16-005 directed that the following medical
standards for accession into the Military Services take effect on July 1, 2017:

       (1)    A history of gender dysphoria is disqualifying, unless, as certified by a licensed
              medical provider, the applicant has been stable without clinically significant
              distress or impairment in social, occupational, or other important areas of
              functioning for 18 months.

       (2)    A history of medical treatment associated with gender transition is disqualifying,
              unless, as certified by a licensed medical provider:

              (a)     the applicant has completed all medical treatment associated with the
                      applicant's gender transition; and
              (b)     the applicant has been stable in the preferred gender for 18 months; and
              (c)     if the applicant is presently receiving cross-sex hormone therapy post­
                      gender transition, the individual has been stable on such hormones for 18
                      months.

       (3)    A history of sex reassignment or genital reconstruction surgery is disqualifying,
              unless, as certified by a licensed medical provider:

              (a)     a period of 18 months has elapsed since the date of the most recent of any
                      such surgery; and




                                               15
     Case 2:25-cv-00241-BHS               Document 71-2          Filed 03/12/25     Page 20 of 48




                 (b)     no functional limitations or complications persist, nor is any additional
                         surgery required. 39




39 Memorandum from Ashton Carter. Secretary ofDefense ...Directive-type Memorandum (DTM) 16-005, ·Military
Service ofTransgender Service Members,"' Attachment, pp. 1-2 (June 30, 2016).

                                                      16
           Case 2:25-cv-00241-BHS        Document 71-2          Filed 03/12/25       Page 21 of 48




                                  Panel of Experts Recommendation

        The Carter policy's accession standards for persons with a history of gender dysphoria
were set to take effect on July 1, 2017, but on June 30, after consultation with the Secretaries and
Chiefs of Staff of each Service, Secretary Mattis postponed the new standards for an additional
six months "to evaluate more carefully the impact of such accessions on readiness and
lethality."40 Secretary Mattis specifically directed that the review would "include all relevant
considerations" and would last for five months, with a due date of December 1, 2017.41 The
Secretary also expressed his desire to have "the benefit of the views of the military leadership
and of the senior civilian officials who are now arriving in the Department."42

         While Secretary Mattis' s review was ongoing, President Trump issued a memorandum,
on August 25, 2017, directing the Secretary of Defense, and the Secretary of Homeland Security
with respect to the U.S. Coast Guard, to reinstate longstanding policy generally barring the
accession of transgender individuals �-until such time as a sufficient basis exists upon which to
conclude that terminating that policy and practice" would not "hinder military effectiveness and
lethality, disrupt unit cohesion, or tax military resources."43 The President found that "further
study is needed to ensure that continued implementation of last year's policy change would not
have those negative effects."44 Accordingly, the President directed both Secretaries to maintain
the prohibition on accession of transgender individuals ""until such time as the Secretary of
Defense, after consulting with the Secretary of Homeland Security, provides a recommendation
to the contrary" that is convincing. 45 The President made clear that the Secretaries may advise
him "at any time, in writing, that a change to this policy is warranted. "46 In addition, the
President gave both Secretaries discretion to ··determine how to address transgender individuals
currently serving" in the military and made clear that no action be taken against them until a
determination was made. 47

       On September 14, 2017, Secretary Mattis established a Panel of Experts to study, in a
··comprehensive, holistic, and objective" manner, ··military service by transgender individuals,
focusing on military readiness, lethality, and unit cohesion, with due regard for budgetary
constraints and consistent with applicable law."48 He directed the Panel to "conduct an
independent multi-disciplinary review and study of relevant data and information pertaining to
transgender Service members."49



40
 Memorandum from James N. Mattis, Secretary of Defense. ··Accession ofTransgender Individuals into the
Military Services'· (June 30, 2017).
41   Id.
42 Id.
43
   Memorandum from Donald J. Trump, President of the United States, "Military Service by Transgender
Individuals" (Aug. 25, 2017).
44
   Id. at l .
45 Id. at 2.
46 Id.
47 J
    d.
48
   Memorandum from James N. Mattis, Secretary of Defense, ..Terms of Reference-Implementation of Presidential
Memorandum on Military Service byTransgender Individuals," pp. l-2 (Sept. 14, 2017).
49
   Id. at 2.

                                                     17
     Case 2:25-cv-00241-BHS          Document 71-2        Filed 03/12/25      Page 22 of 48




        The Panel consisted of the Under Secretaries of the Military Departments (or officials
performing their duties), the Armed Services' Vice Chiefs (including the Vice Commandant of
the U.S. Coast Guard), and the Senior Enlisted Advisors, and was chaired by the Under Secretary
of Defense for Personnel and Readiness or an official performing those duties. The Secretary of
Defense selected these senior leaders because of their experience leading warfighters in war and
peace or their expertise in military operational effectiveness. These senior leaders also have the
statutory responsibility to organize, train, and equip military forces and are uniquely qualified to
evaluate the impact of policy changes on the combat effectiveness and lethality of the force. The
Panel met 13 times over a span of 90 days.

        The Panel received support from medical and personnel experts from across the
Departments of Defense and Homeland Security. The Transgender Service Policy Working
Group, comprised of medical and personnel experts from across the Department, developed
policy recommendations and a proposed implementation plan for the Panel's consideration. The
Medical and Personnel Executive Steering Committee, a standing group of the Surgeons General
and Service Personnel Chiefs, led by Personnel and Readiness, provided the Panel with an
analysis of accession standards, a multi-disciplinary review of relevant data, and information
about medical treatment for gender dysphoria and gender transition-related medical care. These
groups reported regularly to the Panel and responded to numerous queries for additional
information and analysis to support the Panel's review and deliberations. A separate working
group tasked with enhancing the lethality of our Armed Forces also provided a briefing to the
Panel on their work relating to retention standards.

        The Panel met with and received input from transgender Service members, commanders
of transgender Service members, military medical professionals, and civilian medical
professionals with experience in the care and treatment of individuals with gender dysphoria.
The Panel also reviewed information and analyses about gender dysphoria, the treatment of
gender dysphoria, and the effects of currently serving individuals with gender dysphoria on
military effectiveness, unit cohesion, and resources. Unlike past reviews, the Panel's analysis
was informed by the Department's own data and experience obtained since the Carter policy
took effect.

       To fulfill its mandate, the Panel addressed three questions:

       •   Should the Department of Defense access transgender individuals?
       •   Should the Department allow transgender individuals to transition gender while
           serving, and if so, what treatment should be authorized?
       •   How should the Department address transgender individuals who are currently
           serving?

        After extensive review and deliberation, which included evidence in support of and
against the Panel's recommendations, the Panel exercised its professional military judgment and
made recommendations. The Department considered those recommendations and the
information underlying them, as well as additional information within the Department, and now
proposes the following policy consistent with those recommendations.



                                                18
        Case 2:25-cv-00241-BHS              Document 71-2          Filed 03/12/25       Page 23 of 48




                                             Recommended Policv

        To maximize military effectiveness and lethality, the Department, after consultation with
and the concurrence of the Department of Homeland Security, recommends cancelling the Carter
policy and, as explained below, adopting a new policy with respect to the accession and retention
of transgender persons.

        The Carter policy assumed that transgender persons were generally qualified for service
and that their accession and retention would not negatively impact military effectiveness. As
noted earlier, Secretary Carter directed the TSRWG, the group charged with evaluating, and
making recommendations on, transgender service, to "start with the presumption that transgender
persons can serve openly without adverse impact on military effectiveness and readiness, unless
and except where objective practical impediments are identified."50 Where necessary, standards
were adjusted or relaxed to accommodate service by transgender persons. The following
analysis makes no assumptions but instead applies the relevant standards applicable to everyone
to determine the extent to which transgender persons are qualified for military duty.

        For the following reasons, the Department concludes that transgender persons should not
be disqualified from service solely on account of their transgender status, provided that they, like
all other Service members, are willing and able to adhere to all standards, including the standards
associated with their biological sex. With respect to the subset of transgender persons who have
been diagnosed with gender dysphoria, however, those persons are generally disqualified unless,
depending on whether they are accessing or seeking retention, they can demonstrate stability for
the prescribed period of time; they do not require, and have not undergone, a change of gender;
and they are otherwise willing and able to meet all military standards, including those associated
with their biological sex. In order to honor its commitment to current Service members
diagnosed with gender dysphoria, those Service members who were diagnosed after the effective
date of the Carter policy and before any new policy takes effect will not be subject to the policy
recommended here.

Discussion of Standards

        The standards most relevant to the issue of service by transgender persons fall into three
categories: mental health standards, physical health standards, and sex-based standards. Based
on these standards, the Department can assess the extent to which transgender persons are
qualified for military service and, in light of that assessment, recommend appropriate policies.

           A.      Mental Health Standards

       Given the extreme rigors of military service and combat, maintaining high standards of
mental health is essential to military effectiveness and lethality. The immense toll that the
burden and experience of combat can have on the human psyche cannot be overstated.
Therefore, putting individuals into battle, who might be at increased risk of psychological injury,
would be reckless, not only for those individuals, but for the Service members who serve beside
them as well.
50
     Memorandum from Ashton Carter, Secretary of Defense, ..Transgender Service Members" (July 28, 2015).

                                                        19
      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 24 of 48




        The Department's experience with the mental health issues arising from our wars in
Afghanistan and Iraq, including post-traumatic stress disorder (PTSD), only underscores the
importance of maintaining high levels of mental health across the force. PTSD has reached as
high as 2.8% of all active duty Service members, and in 2016, the number of active duty Service
members with PTSD stood at 1.5%. 51 Of all Service members in the active component, 7.5%
have been diagnosed with a mental health condition of some type. 52 The Department is mindful
of these existing challenges and must exercise caution when considering changes to its mental
health standards.

         Most mental health conditions and disorders are automatically disqualifying for accession
absent a waiver. For example, persons with a history of bipolar disorder, personality disorder,
obsessive-compulsive disorder, suicidal behavior, and even body dysmorphic disorder (to name a
few) are barred from entering into military service, unless a waiver is granted.53 For a few
conditions, however, persons may enter into service without a waiver if they can demonstrate
stability for 24 to 36 continuous months preceding accession. Historically, a person is deemed
stable if they are without treatment, symptoms, or behavior of a repeated nature that impaired
social, school, or work efficiency for an extended period of several months. Such conditions
include depressive disorder (stable for 36 continuous months) and anxiety disorder (stable for 24
continuous months). 54 Requiring a period of stability reduces, but does not eliminate, the
likelihood that the individual's depression or anxiety will return.

        Historically, conditions associated with transgender individuals have been automatically
disqualifying absent a waiver. Before the changes directed by Secretary Carter, military mental
health standards barred persons with a '"[h]istory of psychosexual conditions, including but not
limited to transsexualism, exhibitionism, transvestism, voyeurism, and other paraphilias."55
These standards, however, did not evolve with changing understanding of transgender mental
health. Today, transsexualism is no longer considered by most mental health practitioners as a
mental health condition. According to the APA, it is not a medical condition for persons to
identify with a gender that is different from their biological sex. 56 Put simply, transgender status
alone is not a condition.

       Gender dysphoria, by contrast, is a mental health condition that can require substantial
medical treatment. Many individuals who identify as transgender are diagnosed with gender
dysphoria, but "[n]ot all transgender people suffer from gender dysphoria and that distinction,"
according to the APA, ''is important to keep in mind."57 The DSM-5 defines gender dysphoria as
51 Deployment Health Clinical Center, .. Mental Health Disorder Prevalence among Active Duty Service Members in

the Military Health System, Fiscal Years 2005-2016" (Jan. 2017).
S:? Id.
53 DoDI6130.03 at 47-48.

S4 Id.
ss Id. at 48.
56 DSM-5 at 452-53.
57
    American Psychiatric Association, .. Expert Q & A: Gender Dysphoria," available at https://www.psychiatry.org/
patients-families/gender-dysphoria/expert-qa (last visited Feb. 14, 2018). Conversely, not all persons with gender
dysphoria are transgender. ··For example, some men who are disabled in combat, especially if their injury includes
genital wounds, may feel that they are no longer men because their bodies do not conform to their concept of
manliness. Similarly, a woman who opposes plastic surgery, but who must undergo mastectomy because ofbreast



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      Case 2:25-cv-00241-BHS                Document 71-2            Filed 03/12/25         Page 25 of 48




a "marked incongruence between one's experience/expressed gender and assigned gender, of at
least 6 months duration," that is manifested in various specified ways. 58 According to the APA,
the "condition is associated with clinically significant distress or impairment in social,
occupational, or other important areas of functioning. "59

        Transgender persons with gender dysphoria suffer from high rates of mental health
conditions such as anxiety, depression, and substance use disorders. 60 High rates of suicide
ideation, attempts, and completion among people who are transgender are also well documented
in the medical literature, with lifetime rates of suicide attempts reported to be as high as 41%
(compared to 4.6% for the general population). 61 According to a 2015 survey, the rate
skyrockets to 57% for transgender individuals without a supportive family.62 The Department is
concerned that the stresses of military life, including basic training, frequent moves, deployment
to war zones and austere environments, and the relentless physical demands, will be additional
contributors to suicide behavior in people with gender dysphoria . In fact, there is recent
evidence that military service can be a contributor to suicidal thoughts.63

       Preliminary data of Service members with gender dysphoria reflect similar trends. A
review of the administrative data indicates that Service members with gender dysphoria are eight
times more likely to attempt suicide than Service members as a whole (12% versus 1.5%). 64

cancer, may find that she requires reconstructive breast surgery in order to resolve gender dysphoria arising from the
incongruence between her body without breasts and her sense ofherselfas a woman." M. Jocelyn Elders, George R.
Brown, Eli Coleman, Thomas Kolditz & Alan Steinman, ..Medical Aspects ofTransgender Military Service,"
Armed Forces & Society, p. 5 n.22 (Mar. 2014).
58
   DSM-5 at 452.
59
   DSM-5 at 453.
°
6
   Cecilia Dhejne, Roy Van Vlerken, Gunter Heylens & Jon Arcelus, .. Mental health and gender dysphoria: A
review ofthe literature," International Review of Psychiafly, Vol. 28, pp. 44-57 (2016); George R. Brown &
Kenneth T. Jones, ··Mental Health and Medical Health Disparities in 5135 Transgender Veterans Receiving
Healthcare in the Veterans Health Administration: A Case-Control Study," lGBT Health, Vol. 3, p. 128 (Apr.
2016).
61
   Ann P. Haas, Philip L. Rodgers & Jody L. Herman, Suicide Attempts among Transgender and Gender Non­
Conforming Adults: Findings of the National Transgender Discrimination Survey, p. 2 (American Foundation for
Suicide Prevention and The Williams Institute, University ofCalifornia, Los Angeles, School of Law 2014),
available at https://williamsinstitute.law.ucla.edu/wp-content/uploads/AFSP-Williams-Suicide-Report-Final.pdf;
H.G. Virupaksha, Daliboyina Muralidhar & Jayashree Ramakrishna, ·•suicide and Suicide Behavior among
Transgender Persons," Indian Journal of Psychological Medicine, Vol.38, pp. 505-09 (2016); Claire M. Peterson,
Abigail Matthews, Emily Copps-Smith & Lee Ann Conard. '"Suicidality, Self-Harm, and Body Dissatisfaction in
Transgender Adolescents and Emerging Adults with Gender Dysphoria," Suicide and life Threatening Behavior,
Vol. 47, pp. 475-482 (Aug. 2017).
62
   Ann P. Haas, Philip L. Rodgers & Jody L. Herman, Suicide Al/empts among Transgender and Gender Non­
Conforming Adults: Findings of the National Transgender Discrimination Survey, pp. 2, 12 (American Foundation
for Suicide Prevention and The Williams Institute, University ofCalifornia, Los Angeles, School of Law 2014),
available at https://williamsinstitute.law.ucla.edu/wp-content/uploads/AFSP-Williams-Suicide-Report-Final.pdf.
63
   Raymond P. Tucker, Rylan J. Testa, Mark A.Reger, Tracy L. Simpson. Jillian C. Shipherd, & Keren Lehavot,
"Current and Military-Specific Gender Minority Stress Factors and Their Relationship with Suicide Ideation in
Transgender Veterans," Suicide and life Threatening Behavior DOI: 10.1111/sltb.12432 (epub ahead ofprint), pp.
1-10 (2018); Craig J. Bryan, AnnaBelle 0. Bryan, Bobbie N. Ray-Sannerud, Neysa Etienne & Chad E. Morrow,
..Suicide attempts before joining the military increase risk for suicide attempts and severity of suicidal ideation
among military personnel and veterans,'' Comprehensive Psychiatry, Vol. 55, pp. 534-541 (2014).
64
   Data retrieved from Military Health System data repository (Oct. 2017).



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      Case 2:25-cv-00241-BHS                 Document 71-2           Filed 03/12/25          Page 26 of 48




Service members with gender dysphoria are also nine times more likely to have mental health
encounters than the Service member population as a whole (28.1 average encounters per Service
member versus 2.7 average encounters per Service member). 65 From October 1, 2015 to October
3, 2017, the 994 active duty Service members diagnosed with gender dysphoria accounted for
30,000 mental health visits.66

        It is widely believed by mental health practitioners that gender dysphoria can be treated.
Under commonly accepted standards of care, treatment for gender dysphoria can include:
psychotherapy; social transition-also known as ··real life experience"-to allow patients to live
and work in their preferred gender without any hormone treatment or surgery; medical transition
to align secondary sex characteristics with patients' preferred gender using cross-sex hormone
therapy and hair removal; and surgical transition-also known as sex reassignment surgery-to
make the physical body-both primary and secondary sex characteristics-resemble as closely
as possible patients' preferred gender.67 The purpose of these treatment options is to alleviate the
distress and impairment of gender dysphoria by seeking to bring patients' physical characteristics
into alignment with their gender identity-that is, one's inner sense of one's own gender. 68

         Cross-sex hormone therapy is a common medical treatment associated with gender
transition that may be commenced following a diagnosis of gender dysphoria.69 Treatment for
women transitioning to men involves the administration of testosterone, whereas treatment for
men transitioning to women requires the blocking of testosterone and the administration of
estrogens. 70 The Endocrine Society's clinical guidelines recommend laboratory bloodwork
every 90 days for the first year of treatment to monitor hormone levels. 71

       As a treatment for gender dysphoria, sex reassignment surgery is '"a unique intervention
not only in psychiatry but in all of medicine." 72 Under existing Department guidelines

65
   Data retrieved from Military Health System data repository (Oct. 2017). Study period was Oct. I, 2015 to July
26, 2017.
66
   Data retrieved from Military Health System data repository (Oct.2017).
67
   RAND Study at 5-7, Appendices A & C; see also Hayes Directory, ··sex Reassignment Surgery for the Treatment
of Gender Dysphoria," p. I (May 15, 2014) (..The full therapeutic approach to [gender dysphoria] consists of 3
elements or phases, typically in the following order: (I) hormones of the desired gender; (2) real-life experience for
12 months in the desired role; and (3) surgery to change the genitalia and other sex characteristics (e.g., breast
reconstruction or mastectomy). However, not everyone with [gender dysphoria] needs or wants all elements of this
triadic approach."); Irene Folaron & Monica Lovasz. ·•Military Considerations in Transsexual Care of the Active
Duty Member," Milita,y Medicine, Vol. 181, p. 1183 (Oct. 2016) ('"The Endocrine Society proposes a sequential
approach in transsexual care to optimize mental health and physical outcomes. Generally, they recommend
initiation of psychotherapy, followed by cross-sex hormone treatments, then [sex reassignment surgery].").
68
   RAND Study at 73.
69
   Wylie C. Hembree, Peggy Cohen-Kettenis, Lous Gooren, Sabine Hannema, Walter Meyer, M. Hassan Murad,
Stephen Rosenthal, Joshua Safer, Vin Tangpricha. & Guy T'Sjoen, .. Endocrine Treatment of Gender­
Dysphoric/Gender Incongruent Persons: An Endocrine Society Clinical Practice Guideline,'" The Journal of
Clinical Endocrinology & Metabolism, Vol. I 02, pp. 3869-3903 (Nov. 2017).
70
   Id. at 3885-3 888.
11 Id.

n Ceclilia Dhejne, Paul Lichtenstein, Marcus Boman, Anna L. Johansson. Niklas Langstrom & Mikael Landen,
"Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment Surgery: Cohort Study in Sweden,''
PloS One, Vol. 6, pp. 1-8 (Feb. 2011); see also Hayes Directory, ··sex Reassignment Surgery for the Treatment of



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          Case 2:25-cv-00241-BHS              Document 71-2            Filed 03/12/25         Page 27 of 48




     implementing the Carter policy, men transitioning to women may obtain an orchiectomy
     (surgical removal of the testicles), a penectomy (surgical removal of the penis), a vaginoplasty
     (surgical creation of a vagina), a clitoroplasty (surgical creation of a clitoris), and a labiaplasty
     (surgical creation of the labia). Women transitioning to men may obtain a hysterectomy
     (surgical removal of the uterus), a mastectomy (surgical removal of the breasts), a metoidioplasty
     (surgical enlargement of the clitoris), a phalloplasty (surgical creation of a penis), a scrotoplasty
     (surgical creation of a scrotum) and placement of testicular prostheses, a urethroplasty (surgical
     enlargement of the urethra), and a vaginectomy (surgical removal of the vagina). In addition, the
     following cosmetic procedures may be provided at military treatment facilities as well:
     abdominoplasty, breast augmentation, blepharoplasty (eyelid lift), hair removal, face lift, facial
     bone reduction, hair transplantation, liposuction, reduction thyroid chondroplasty, rhinoplasty,
     and voice modification surgery. 73
         The estimated recovery time for each of the surgical procedures, even assuming no
 complications, can be substantial. For example, assuming no complications, the recovery time
 for a hysterectomy is up to eight weeks; a mastectomy is up to six weeks; a phalloplasty is up to
 three months; a metoidioplasty is up to eight weeks; an orchiectomy is up to six weeks; and a
 vaginoplasty is up to three months. 74 When combined with 12 continuous months of hormone
 therapy, which is required prior to genital surgery, 75 the total time necessary for surgical
 transition can exceed a year.

         Although relatively few people who are transgender undergo genital reassignment
 surgeries (2% of transgender men and 10% of transgender women), we have to consider that the
 rate of complications for these surgeries is significant, which could increase a transitioning
 Service member's unavailability. 76 Even according to the RAND study, 6% to 20% of those
 receiving vaginoplasty surgery experience complications, meaning that "'between three and 11
 Service members per year would experience a long-term disability from gender reassignment




  Gender Dysphoria," p. 2 (May 15, 2014) (noting that gender dysphoria ..does not readily fit traditional concepts of
  medical necessity since research to date has not established anatomical or physiological anomalies associated with
   [gender dysphoria]"); Hayes Annual Review, ·•sex Reassignment Surgery for the Treatment of Gender Dysphoria"
   (Apr. 18, 2017).
   73
      Memorandum from Defense Health Agency, ··Information Memorandum: Interim Defense Health Agency
Procedures for Reviewing Requests for Waivers to Allow Supplemental Health Care Program Coverage of Sex
Reassignment Surgical Procedures" (Nov. 13, 2017); see also RAND Study at Appendix C.
74
    University of California, San Francisco, Center of Excellence for Transgender Health, '"Guidelines for the Primary
and Gender-Affirming Care ofTransgender and Gender Nonbinary People," available at http://transhealth.ucsf.edu/
trans?page=guidelines-home (last visited Feb. 16, 2018); Discussion with Dr. Loren Schechter, Visiting Clinical
Professor of Surgery, University of Illinois at Chicago (Nov. 9, 2017).
75
   RAND Study at 80; see also Irene Folaron & Monica Lovasz, "'Military Considerations in Transsexual Care of the
Active Duty Member," Milita,y Medicine, Vol. 181, p. 1184 (Oct. 2016) (noting that Endocrine Society criteria
..require that the patient has been on continuous cross-sex hormones and has had continuous [real life experience] or
psychotherapy for the past 12 months").
76
   Sandy E. James, Jody L. Herman, Susan Rankin, Mara Keisling, Lisa Mottet & Ma'ayan Anafi, The Report ofthe
2015 U.S. Transgender Survey, pp. I 00-103 (National Center for Transgender Equality 2016) available at
https://www.transequality.org/sites/default/files/docs/USTS-Full-Report-FINAL.PDF.
      Case 2:25-cv-00241-BHS               Document 71-2            Filed 03/12/25         Page 28 of 48



surgery."77 The RAND study further notes that of those receiving phalloplasty surgery, as many
as 25%-one in four-will have complications. 78

        The prevailing judgment of mental health practitioners is that gender dysphoria can be
treated with the transition-related care described above. While there are numerous studies of
varying quality showing that this treatment can improve health outcomes for individuals with
gender dysphoria, the available scientific evidence on the extent to which such treatments fully
remedy all of the issues associated with gender dysphoria is unclear. Nor do any of these studies
account for the added stress of military life. deployments, and combat.

        As recently as August 2016, the Centers for Medicare and Medicaid Services (CMS)
conducted a comprehensive review of the relevant literature, over 500 articles, studies, and
reports, to determine if there was '"sufficient evidence to conclude that gender reassignment
surgery improves health outcomes for Medicare beneficiaries with gender dysphoria." 79 After
reviewing the universe of literature regarding sex reassignment surgery, CMS identified 33
studies sufficiently rigorous to merit further review, and of those, --some were positive; others
were negative. " 80 ''Overall," according to CMS, ""the quality and strength of evidence were low
due to mostly observational study designs with no comparison groups, subjective endpoints,
potential confounding . . . , small sample sizes, lack of validated assessment tools, and
considerable [number of study subjects] lost to follow-up."81 With respect to whether sex
reassignment surgery was '"reasonable and necessary" for the treatment of gender dysphoria,
CMS concluded that there was ··not enough high quality evidence to determine whether gender
reassignment surgery improves health outcomes for Medicare beneficiaries with gender
dysphoria and whether patients most likely to benefit from these types of surgical intervention
can be identified prospectively." 82

        Importantly, CMS identified only six studies as potentially providing ··useful
information" on the effectiveness of sex reassignment surgery. According to CRS, '·the four best
designed and conducted studies that assessed the quality of life before and after surgery using
validated (albeit, non-specific) psychometric studies did not demonstrate clinically significant
changes or differences in psychometric test results after [sex reassignment surgery]."83


77
    RAND Study at 40-41.
78
    Id. at 4 l .
79
    Tamara Jensen, Joseph Chin, James Rollins, Elizabeth Koller. Linda Gousis & Katherine Szarama. ·•final
Decision Memorandum on Gender Reassignment Surgery for Medicare Beneficiaries with Gender Dysphoria,'"
Centers for Medicare & Medicaid Services. p. 9 (Aug. 30. 2016) ("·CMS Report").
80
    Id. at 62.
81
    Id.
 :? Id. at 65. CMS did not conclude that gender reassignment surgery can never be necessary and reasonable to treat
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gender dysphoria. To the contrary, it made clear that Medicare insurers could make their own ··determination of
whether or not to cover gender reassignment surgery based on whether gender reassignment surgery is reasonable
and necessary for the individual beneficiary after considering the individual's specific circumstances:' Id. at 66.
Nevertheless. CMS did decline to require all Medicare insurers to cover sex reassignment surgeries because it found
insufficient scientific evidence to conclude that such surgeries improve health outcomes for persons with gender
dysphoria.
83 Id. at 62.




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      Case 2:25-cv-00241-BHS                Document 71-2            Filed 03/12/25         Page 29 of 48




Additional studies found that the "cumulative rates of requests for surgical reassignment reversal
or change in legal status" were between 2.2% and 3.3%.84

        A sixth study, which came out of Sweden, is one of the most robust because it is a
"nationwide population-based, long-term follow-up of sex-reassigned transsexual persons."85
The study found increased mortality and psychiatric hospitalization for patients who had
undergone sex reassignment surgery as compared to a healthy control group.86 As described by
CMS: "The mortality was primarily due to completed suicides (19.1-fold greater than in [the
control group]), but death due to neoplasm and cardiovascular disease was increased 2 to 2.5
times as well. We note, mortality from this patient population did not become apparent until
after 10 years. The risk for psychiatric hospitalization was 2.8 times greater than in controls
even after adjustment for prior psychiatric disease (18%). The risk for attempted suicide was
greater in male-to-female patients regardless of the gender of the control."87

        According to the Hayes Directory, which conducted a review of 19 peer-reviewed studies
on sex reassignment surgery, the "evidence suggests positive benefits," including ''decreased
[gender dysphoria], depression and anxiety, and increased [quality of life]," but "because of
serious limitations," these findings '·permit only weak conclusions."88 It rated the quality of
evidence as '"very low" due to the numerous limitations in the studies and concluded that there is

8
 .iId.
85
   Ceclilia Dhejne, Paul Lichtenstein,Marcus Boman, Anna L. Johansson,Niklas Langstrom & Mikael Landen,
··Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment Surgery: Cohort Study in Sweden,"
PLoS One, Vol. 6, p. 6 (Feb. 2011); see also id. (•"Strengths of this study include nationwide representativity over
more than 30 years, extensive follow-up time,and minimal loss to follow-up....Finally,whereas previous studies
either lack a control group or use standardised mortality rates or standarised incidence rates as comparisons,we
selected random population controls matched by birth year,and either birth or final sex.").
86
   Id. at 7; see also at 6 (..Mortality from suicide was strikingly high among sex-reassigned persons, also after
adjustment for prior psychiatric morbidity. In line with this, sex-reassigned persons were at increased risk for
suicide attempts. Previous reports suggest that transsexualism is a strong risk factor for suicide,also after sex
reassignment,and our long-term findings support the need for continued psychiatric follow-up for persons at risk to
prevent this. Inpatient care for psychiatric disorders was significantly more common among sex-reassigned persons
than among matched controls,both before and after sex reassignment. It is generally accepted that transsexuals have
more psychiatric ill-health than the general population prior to the sex reassignment. It should therefore come as no
surprise that studies have found high rates of depression,and low quality of life, also after sex reassignment.
Notably,however,in this study the increased risk for psychiatric hospitalization persisted even after adjusting for
psychiatric hospitalization prior to sex reassignment. This suggests that even though sex reassignment alleviates
gender dysphoria,there is a need to identify and treat co-occurring psychiatric morbidity in transsexual persons not
only before but also after sex reassignment.").
87
   CMS Report at 62. It bears noting that the outcomes for mortality and suicide attempts differed •·depending on
when sex reassignment was performed: during the period 1973-1988 or 1989-2003." Ceclilia Dhejne, Paul
Lichtenstein,Marcus Boman,Anna L.Johansson,Niklas Langstrom & Mikael Landen,"'Long-Term Follow-Up of
Transsexual Persons Undergoing Sex Reassignment Surgery: Cohort Study in Sweden," PloS One, Vol.6,p.5
(Feb.2011). Even though both mortality and suicide attempts were greater for transsexual persons than the healthy
control group across both time periods,this did not reach statistical significance during the 1989-2003 period. One
possible explanation is that mortality rates for transsexual persons did not begin to diverge from the healthy control
group until after 10 years of follow-up,in which case the expected increase in mortality would not have been
observed for most of the persons receiving sex reassignment surgeries from 1989-2003. Another possible
explanation is that treatment was of a higher quality from 1989-2003 than from 1973-1988.
88
   Hayes Directory,"Sex Reassignment Surgery for the Treatment of Gender Dysphoria," p.4 (May 15,2014).
     Case 2:25-cv-00241-BHS              Document 71-2          Filed 03/12/25        Page 30 of 48



not sufficient "evidence to establish patient selection criteria for [sex reassignment surgery] to
treat [gender dysphoria]."89

        With respect to hormone therapy, the Hayes Directory examined 10 peer-reviewed
studies and concluded that a ''substantial number of studies of cross-sex hormone therapy each
show some positive findings suggesting improvement in well-being after cross-sex hormone
therapy."90 Yet again, it rated the quality of evidence as "very low" and found that the "evidence
is insufficient to support patient selection criteria for hormone therapy to treat [gender
dysphoria]."91 Importantly, the Hayes Directory also found: "Hormone therapy and subsequent
[sex reassignment surgery] failed to bring overall mortality, suicide rates, or death from illicit
drug use in [male-to-female] patients close to rates observed in the general male population. It is
possible that mortality is nevertheless reduced by these treatments, but that cannot be determined
from the available evidence. "92

         In 2010, Mayo Clinic researchers conducted a comprehensive review of 28 studies on the
use of cross-sex hormone therapy in sex reassignment and concluded that there was "very low
quality evidence" showing that such therapy '"likely improves gender dysphoria, psychological
functioning and comorbidities, sexual function and overall quality of life. "93 Not all of the
studies showed positive results, but overall, after pooling the data from all of the studies, the
researchers showed that 80% of patients reported improvement in gender dysphoria, 78%
reported improvement in psychological symptoms, and 80% reported improvement in quality of
life, after receiving hormone therapy.94 Importantly, however, ""[s]uicide attempt rates decreased
after sex reassignment but stayed higher than the normal population rate. "95

        The authors of the Swedish study discussed above reached similar conclusions: 'This
study found substantially higher rates of overall mortality, death from cardiovascular disease and
suicide, suicide attempts, and psychiatric hospitali[z]ations in sex-reassigned transsexual
individuals compared to a healthy control population. This highlights that post[-]surgical
transsexuals are a risk group that need long-term psychiatric and somatic follow-up. Even
though surgery and hormonal therapy alleviates gender dysphoria, it is apparently not sufficient
to remedy the high rates of morbidity and mortality found among transsexual persons."96

       Even the RAND study, which the Carter policy is based upon, confirmed that "[t]here
have been no randomized controlled trials of the effectiveness of various forms of treatment, and

89
    Id. at 3.
90
    Hayes Directory, "Hormone Therapy for the Treatment of Gender Dysphoria," pp. 2, 4 (May 19, 2014).
91
    Id. at 4.
92
    Id. at 3.
93
    Mohammad Hassan Murad, Mohamed B. Elamin, Magaly Zumaeta Garcia, Rebecca J. Mullan, Ayman Murad,
Patricia J. Erwin & Victor M. Montori... Hormonal therapy and sex reassignment: a systematic review and meta­
analysis of qualify of life and psychosocial outcomes," Clinical Endocrinology, Vol. 72, p. 214 (2010).
94
    Id. at 216.
9
  5 Id.
96
    Ceclilia Dhejne, Paul Lichtenstein, Marcus Boman. Anna L. Johansson, Niklas Langstrom & Mikael Landen,
.. Long-Tenn Follow-Up of Transsexual Persons Undergoing Sex Reassignment Surgery: Cohort Study in Sweden,"
PloS One, Vol. 6, pp. 1-8 (Feb. 2011).


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         Case 2:25-cv-00241-BHS            Document 71-2            Filed 03/12/25   Page 31 of 48




µ-iost evidence comes from retrospective studies.''97 Although noting that "[m]ultiple
observational studies have suggested significant and sometimes dramatic reductions in
suicidality, suicide attempts, and suicides among transgender patients after receiving transition­
related treatment," RAND made clear that ··none of these studies were randomized controlled
trials (the gold standard for determining treatment efficacy)."98 "In the absence of quality
randomized trial evidence," RAND concluded, '"it is difficult to fully assess the outcomes of
treatment for [gender dysphoria]. "99

        Given the scientific uncertainty surrounding the efficacy of transition-related treatments
for gender dysphoria, it is imperative that the Department proceed cautiously in setting accession
and retention standards for persons with a diagnosis or history of gender dysphoria.

           B.      Physical Health Standards

        Not only is maintaining high standards of mental health critical to military effectiveness
and lethality, maintaining high standards of physical health is as well. Although technology has
done much to ease the physical demands of combat in some military specialties, war very much
remains a physically demanding endeavor. Service members must therefore be physically
prepared to endure the rigors and hardships of military service, including potentially combat.
They must be able to carry heavy equipment sometimes over long distances; they must be able to
handle heavy machinery; they must be able to traverse harsh terrain or survive in ocean waters;
they must be able to withstand oppressive heat, bitter cold, rain, sleet, and snow; they must be
able to endure in unsanitary conditions, coupled with lack of privacy for basic bodily functions,
sometimes with little sleep and sustenance; they must be able to carry their wounded comrades to
safety; and they must be able to defend themselves against those who wish to kill them.

        Above all, whether they serve on the frontlines or in relative safety in non-combat
positions, every Service member is important to mission accomplishment and must be available
to perform their duties globally whenever called upon. The loss of personnel due to illness,
disease, injury, or bad health diminishes military effectiveness and lethality. The Department's
physical health standards are therefore designed to minimize the odds that any given Service
member will be unable to perform his or her duties in the future because of illness, disease, or
injury. As noted earlier, those who seek to enter military service must be free of contagious
diseases; free of medical conditions or physical defects that could require treatment,
hospitalization, or eventual separation from service for medical unfitness; medically capable of
satisfactorily completing required training; medically adaptable to the military environment; and
medically capable of performing duties without aggravation of existing physical defects or
medical conditions. 100 To access recruits with higher rates of anticipated unavailability for
deployment thrusts a heavier burden on those who would deploy more often.



97 RAND Study at 7.
98       (
  Id. at IO citin only to a California Department of Insurance report).
              g
99 Id.
100
      DoDI6130.03 at 2.



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          Case 2:25-cv-00241-BHS             Document 71-2          Filed 03/12/25         Page 32 of 48




       Historically, absent a waiver, the Department has barred from accessing into the military
anyone who had undergone chest or genital surgery (e.g., removal of the testicles or uterus) and
anyone with a history of major abnormalities or defects of the chest or genitalia, including
hermaphroditism and pseudohermaphroditism. 101 Persons with conditions requiring medications,
such as anti-depressants and hormone treatment, were also disqualified from service, unless a
waiver was granted. 102

         These standards have long applied uniformly to all persons, regardless of transgender
status. The Carter policy, however, deviates from these uniform standards by exempting, under
certain conditions, treatments associated with gender transition, such as sex reassignment surgery
and cross-sex hormone therapy. For example, under the Carter policy, an applicant who has
received genital reconstruction surgery may access without a waiver if a period of 18 months has
elapsed since the date of the most recent surgery, no functional limitations or complications
persist, and no additional surgery is required. In contrast, an applicant who received similar
surgery following a traumatic injury is disqualified from military service without a waiver. 103
Similarly, under the Carter policy, an applicant who is presently receiving cross-sex hormone
therapy post-gender transition may access without a waiver if the applicant has been stable on
such hormones for 18 months. In contrast, an applicant taking synthetic hormones for the
treatment of hypothyroidism is disqualified from military service without a waiver. 104

             C.        Sex-Based Standards

        Women have made invaluable contributions to the defense of the Nation throughout our
history. These contributions have only grown more significant as the number of women in the
Armed Forces has increased and as their roles have expanded. Today, women account for 17.6%
of the force, 105 and now every position, including combat arms positions, is open to them.

        The vast majority of military standards make no distinctions between men and women.
Where biological differences between males and females are relevant, however, military
standards do differentiate between them. The Supreme Court has acknowledged the lawfulness
of sex-based standards that flow from legitimate biological differences between the sexes. 106
These sex-based standards ensure fairness, equity, and safety; satisfy reasonable expectations of
privacy; reflect common practice in society; and promote core military values of dignity and
respect between men and women-all of which promote good order, discipline, steady
leadership, unit cohesion, and ultimately military effectiveness and lethality.

101 Id. at 25-27.
io:2
       Id. at 46-48.
103 Id. at 26-27.

t().l Id. at 41.
105 Defense Manpower Data Center, Active and Reserve Master Files (Dec. 2017).
106
   For example, in United States v. Virginia, the Court noted approvingly that •·[a]dmitting women to [the Virginia
Military Institute] would undoubtedly require alterations necessary to afford members of each sex privacy from the
other sex in living arrangements, and to adjust aspects of the physical training programs." 518 U.S. 515, 550-51
n.19 (1996) (citing the statute that requires the same standards for women admitted to the service academies as for
the men, ..except for those minimum essential adjustments in such standards required because of physiological
differences between male and female individuals").


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      Case 2:25-cv-00241-BHS                 Document 71-2             Filed 03/12/25         Page 33 of 48




          For example, anatomical differences between males and females, and the reasonable
expectations of privacy that flow from those differences, at least partly account for the laws and
regulations that require separate berthing, bathroom, and shower facilities and different drug
testing procedures for males and females. 107 To maintain good order and discipline, Congress
has even required by statute that the sleeping and latrine areas provided for "male" recruits be
physically separated from the sleeping and latrine areas provided for '"female" recruits during
basic training and that access by drill sergeants and training personnel '·after the end of the
training day" be limited to persons of the "same sex as the recruits" to ensure "after-hours
privacy for recruits during basic training."108

        In addition, physiological differences between males and females account for the
different physical fitness and body fat standards that apply to men and women. 109 This ensures
equity and fairness. Likewise, those same physiological differences also account for the policies
that regulate competition between men and women in military training and sports, such as
boxing and combatives. 110 This ensures protection from injury.

107
    See, e.g., Department of the Army, Training and Doctrine Command, TRADOC Regulation 350-6, ""Enlisted
Initial Entry Training Policies and Administration," p. 56 (Mar. 20, 2017); Department of the Air Force, Air Force
Instruction 32-6005, '·Unaccompanied Housing Management," p. 35 (Jan 29., 2016); Department of the Army,
Human Resources Command, AR 600-85, ..Substance Abuse Program" (Dec. 28, 2012) ("'Observers must . . . [b]e
the same gender as the Soldier being observed.").
108
    See IO U.S.C. § 4319 (Army), IO U.S.C. § 6931 (Navy), and IO U.S.C. § 9319 (Air Force) (requiring the
sleeping and latrine areas provided for ""male" recruits to be physically separated from the sleeping and latrine areas
provided for •·female" recruits during basic training); 10 U.S.C. § 4320 (Army), 10 U.S.C. § 6932 (Navy), and 10
U.S.C. § 9320 (Air Force) (requiring that access by drill sergeants and training personnel ..after the end of the
training day" be limited to persons of the "same sex as the recruits").
109
    See, e.g., Department of the Army, Army Regulation 600-9, ""The Army Body Composition Program," pp. 21-31
(June 28, 2013); Department of the Navy, Office of the Chief of Naval Operations Instruction 611O. I J, "Physical
Readiness Program," p. 7 (July I I , 2011); Department of the Air Force, Air Force Instruction 36-2905, "Fitness
Program," pp. 86-95, 106-146 (Aug. 27, 2015); Department of the Navy, Marine Corps Order 6100.13, "'Marine
Corps Physical Fitness Program," (Aug. I, 2008); Department of the Navy, Marine Corps Order 6110.3A, ''Marine
Corps Body Composition and Military Appearance Program," (Dec. 15, 2016); see also United States Military
Academy, Office of the Commandant of Cadets, "Physical Program Whitebook AY 16-17," p. 13 (specifying that,
to graduate, cadets must meet the minimum performance standard of 3:30 for men and 5:29 for women on the
Indoor Obstacle Course Test); Department of the Army, Training and Doctrine Command, TRADOC Regulation
350-6, .. Enlisted Initial Entry Training Policies and Administration," p. 56 (Mar. 20, 2017) ("'Performance
requirement differences, such as [Army Physical Fitness Test] scoring are based on physiological differences, and
apply to the entire Army.").
110
    See, e.g., Headquarters, Department of the Army, TC 3-25.150, ""Combatives,'' p. A-15 (Feb. 2017) (..Due to the
physiological difference between the sexes and in order to treat all Soldiers fairly and conduct gender-neutral
competitions, female competitors will be given a 15 percent overage at weigh-in."); id. ("'In championships at
battalion-level and above, competitors are divided into eight weight class brackets. . . . These classes take into
account weight and gender."); Major Alex Bedard, Major Robert Peterson & Ray Barone, "Punching Through
Barriers: Female Cadets Integrated into Mandatory Boxing at West Point," Associalion oflhe Uniled States Army
(Nov. 16, 2017), https://www.ausa.org/articles/punching-through-barriers-female-cadets-boxing-west-point (noting
that ··[m]atching men and women according to weight may not adequately account for gender differences regarding
striking force" and that '"[w]hile conducting free sparring, cadets must box someone of the same gender"); RAND
Study at 57 (noting that, under British military policy, transgender persons "'can be excluded from sports that
organize around gender to ensure the safety of the individual or other participants"); see also International Olympic
Committee Consensus Meeting on Sex Reassignment and Hyperandrogensim (Nov. 2015),
https://stillmed.olympic.org/Documents/Commissions_PDFfiles/Medical_commission/2015-11_ioc_


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      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 34 of 48




         Uniform and grooming standards, to a certain extent, are also based on anatomical
differences between males and females. Even those uniform and grooming standards that are
not, strictly speaking, based on physical biology nevertheless flow from longstanding societal
expectations regarding differences in attire and grooming for men and women.111

        Because these sex-based standards are based on legitimate biological differences between
males and females, it follows that a person's physical biology should dictate which standards
apply. Standards designed for biological males logically apply to biological males, not
biological females, and vice versa. When relevant, military practice has long adhered to this
straightforward and logical demarcation.

        By contrast, the Carter policy deviates from this longstanding practice by making military
sex-based standards contingent, not necessarily on the person's biological sex, but on the
person's gender marker in DEERS, which can be changed to reflect the person's gender
identity. 112 Thus, under the Carter policy, a biological male who identifies as a female (and
changes his gender marker to reflect that gender) must be held to the standards and regulations
for females, even though those standards and regulations are based on female physical biology,
not female gender identity. The same goes for females who identify as males. Gender identity
alone, however, is irrelevant to standards that are designed on the basis of biological differences.

        Rather than apply only to those transgender individuals who have altered their external
biological characteristics to fully match that of their preferred gender, under the Carter policy,
persons need not undergo sex reassignment surgery, or even cross-sex hormone therapy, in order
to be recognized as, and thus subject to the standards associated with, their preferred gender. A
male who identifies as female could remain a biological male in every respect and still must be
treated in all respects as a female, including with respect to physical fitness, facilities, and
uniform and grooming. This scenario is not farfetched. According to the APA, not "all
individuals with gender dysphoria desire a complete gender reassignment. ...Some are satisfied
with no medical or surgical treatment but prefer to dress as the felt gender in public." 113
Currently, of the 424 approved Service member treatment plans, at least 36 do not include cross-


consensus_meeting_on_sex_reassignment_and_hyperandrogenism-en.pdf; NCAA Office ofInclusion; NCAA
Inclusion ofTransgender Student-Athletes(Aug. 2011), https://www.ncaa.org/sites/default/files/Transgender_
 Handbook_201 I_Final.pdf.
111 "The difference between men's and women's grooming policies recognizes the difference between the sexes;

sideburns for men, different hairstyles and cosmetics for women. Establishing identical grooming and personal
appearance standards for men and women would not be in the Navy's best interest and is not a factor in the
assurance ofequal opportunity." Department ofthe Navy. Navy Personnel Command, Navy Personnel Instruction
156651, ··Uniform Regulations," Art. 2101.1(July 7. 2017); see also Department ofthe Army, Army Regulation
 670-1, ··wear and Appearance ofArmy Uniforms and Insignia," pp. 4-16(Mar. 31. 2014); Department ofthe Air
Force, Air Force Instruction 26-2903, .. Dress and Personal Appearance ofAir Force Personnel," pp. 17-27(Feb. 9,
2017); Department ofthe Navy, Marine Corps Order PI 020.34G, ··Marine Corps Uniform Regulations," pp. 1-9
(Mar. 3 I, 2003).
112 Department
                 of Defense Instruction 1300.28, In-service Transitionfor Service Members Identifying as
 Transgender, pp. 3-4(June 30, 2016).
 113
     American Psychiatric Association, --Expert Q & A: Gender Dysphoria," available at https://www.psychiatry.org/
patients-families/gender-dysphoria/expert-qa(last visited Feb. 14, 2018).


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      Case 2:25-cv-00241-BHS             Document 71-2          Filed 03/12/25        Page 35 of 48




sex hormone therapy or sex reassignment surgery. 114 And it is questionable how many Service
members will obtain any type of sex reassignment surgery. According to a survey of transgender
persons, only 25% reported having had some form of transition-related surgery.115

         The variability and fluidity of gender transition undermine the legitimate purposes that
justify different biologically-based, male-female standards. For example, by allowing a
biological male who retains male anatomy to use female berthing, bathroom, and shower
facilities, it undermines the reasonable expectations of privacy and dignity of female Service
members. By allowing a biological male to meet the female physical fitness and body fat
standards and to compete against females in gender-specific physical training and athletic
competition, it undermines fairness (or perceptions of fairness) because males competing as
females will likely score higher on the female test than on the male test and possibly compromise
safety. By allowing a biological male to adhere to female uniform and grooming standards, it
creates unfairness for other males who would also like to be exempted from male uniform and
grooming standards as a means of expressing their own sense of identity.

        These problems could perhaps be alleviated if a person's preferred gender were
recognized only after the person underwent a biological transition. The concept of gender
transition is so nebulous, however, that drawing any line-except perhaps at a full sex
reassignment surgery-would be arbitrary, not to mention at odds with current medical practice,
which allows for a wide range of individualized treatment. In any event, rates for genital surgery
are exceedingly low-2% of transgender men and I 0% of transgender women.116 Only up to
25% of surveyed transgender persons report having had some form of transition-related
surgery. 117 The RAND study estimated that such rates ··are typically only around 20 percent,
with the exception of chest surgery among female-to-male transgender individuals."118
Moreover, of the 424 approved Service member treatment plans available for study, 388
included cross-sex hormone treatment, but only 34 non-genital sex reassignment surgeries and
one genital surgery have been completed thus far. Only 22 Service members have requested a
waiver for a genital sex reassignment surgery.119

        Low rates of full sex reassignment surgery and the otherwise wide variation of transition­
related treatment, with all the challenges that entails for privacy, fairness, and safety, weigh in
favor of maintaining a bright line based on biological sex-not gender identity or some variation
thereof-in determining which sex-based standards apply to a given Service member. After all,
a person's biological sex is generally ascertainable through objective means. Moreover, this
approach will ensure that biologically-based standards will be applied uniformly to all Service
members of the same biological sex. Standards that are clear, coherent, objective, consistent,
predictable, and uniformly applied enhance good order, discipline, steady leadership, and unit
cohesion, which in tum, ensure military effectiveness and lethality.

114
    Data reported by the Departments of the Army, Navy, and Air Force (Oct. 2017).
11s
    Id.
116
    Sandy E. James, Jody L. Herman, Susan Rankin, Mara Keisling, Lisa Mottet & Ma'ayan Anafi, The Report ofthe
20 J 5 US. Transgender Survey, pp. I 00-103 (National Center for Transgender Equality 2016) available at
https://www.transequality.org/sites/default/files/docs/USTS-Full-Report-FINAL.PDF.
117
    Id. at 100.
118 R
      AND Study at 21.
119
    Defense Health Agency, Supplemental Health Care Program Data (Feb. 2018).

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         Case 2:25-cv-00241-BHS       Document 71-2        Filed 03/12/25      Page 36 of 48




New Transgender Policy

        In light of the forgoing standards, all of which are necessary for military effectiveness
and lethality, as well as the recommendations of the Panel of Experts, the Department, in
consultation with the Department of Homeland Security, recommends the following policy:

           A. Transgender Persons Without a History or Diagnosis of Gender Dysphoria, Who Are
              Otherwise Qualified for Service, May Serve. Like All Other Service Members. in
              Their Biological Sex.

         Transgender persons who have not transitioned to another gender and do not have a
history or current diagnosis of gender dysphoria-i.e., they identify as a gender other than their
biological sex but do not currently experience distress or impairment of functioning in meeting
the standards associated with their biological sex-are eligible for service, provided that they,
like all other persons, satisfy all mental and physical health standards and are capable of adhering
to the standards associated with their biological sex. This is consistent with the Carter policy,
under which a transgender person's gender identity is recognized only if the person has a
diagnosis or history of gender dysphoria.

       Although the precise number is unknown, the Department recognizes that many
transgender persons could be disqualified under this policy. And many transgender persons who
would not be disqualified may nevertheless be unwilling to adhere to the standards associated
with their biological sex. But many have served, and are serving, with great dedication under the
standards for their biological sex. As noted earlier, 8,980 Service members reportedly identify as
transgender, and yet there are currently only 93 7 active duty Service members who have been
diagnosed with gender dysphoria since June 30, 2016.

           B. Transgender Persons Who Require or Have Undergone Gender Transition Are
              Disqualified.

        Except for those who are exempt under this policy, as described below in C.3, and except
where waivers or exceptions to policy are otherwise authorized, persons who are diagnosed with
gender dysphoria, either before or after entry into service, and require transition-related
treatment, or have already transitioned to their preferred gender, should be disqualified from
service. In the Department's military judgment, this is a necessary departure from the Carter
policy for the following reasons:

               1.       Undermines Readiness. While transition-related treatments, including real
life experience, cross-sex hormone therapy, and sex reassignment surgery, are widely accepted
forms of treatment, there is considerable scientific uncertainty concerning whether these
treatments fully remedy, even if they may reduce, the mental health problems associated with
gender dysphoria. Despite whatever improvements in condition may result from these
treatments, there is evidence that rates of psychiatric hospitalization and suicide behavior remain
higher for persons with gender dysphoria, even after treatment, as compared to persons without
gender dysphoria. 120 The persistence of these problems is a risk for readiness.
120
      See supra at pp. 24-26.

                                                 32
         Case 2:25-cv-00241-BHS              Document 71-2           Filed 03/12/25          Page 37 of 48




        Another readiness risk is the time required for transition-related treatment and the impact
on deployability. Although limited and incomplete because many transitioning Service members
either began treatment before the Carter policy took effect or did not require sex reassignment
surgery, currently available in-service data already show that, cumulatively, transitioning Service
members in the Army and Air Force have averaged 167 and 159 days of limited duty,
respectively, over a one-year period. 121

         Transition-related treatment that involves cross-sex hormone therapy or sex reassignment
surgery could render Service members with gender dysphoria non-deployable for a significant
period of time-perhaps even a year-if the theater of operations cannot support the treatment.
For example, Endocrine Society guidelines for cross-sex hormone therapy recommend quarterly
bloodwork and laboratory monitoring of hormone levels during the first year of treatment. 122 Of
the 424 approved Service member treatment plans available for study, almost all of them-
91.5%-include the prescription of cross-sex hormones. 123 The period of potential non­
deployability increases for those who undergo sex reassignment surgery. As described earlier,
the recovery time for the various sex reassignment procedures is substantial. For non-genital
surgeries (assuming no complications), the range of recovery is between two and eight weeks
depending on the type of surgery, and for genital surgeries (again assuming no complications),
the range is between three and six months before the individual is able to return to full duty. 124
When combined with 12 continuous months of hormone therapy, which is recommended prior to
genital surgery, 125 the total time necessary for sex reassignment surgery could exceed a year. If
the operational environment does not permit access to a lab for monitoring hormones (and there
is certainly debate over how common this would be), then the Service member must be prepared
to forego treatment, monitoring, or the deployment. Either outcome carries risks for readiness.

        Given the limited data, however, it is difficult to predict with any precision the impact on
readiness of allowing gender transition. Moreover, the input received by the Panel of Experts
varied considerably. On one hand, some commanders with transgender Service members

121
      Data reported by the Departments of the Army and Air Force (Oct. 2017).
122
   Wylie C. Hembree, Peggy Cohen-Kettenis, Lous Gooren, Sabine Hannema, Walter Meyer, M. Hassan Murad,
Stephen Rosenthal, Joshua Safer, Vin Tangpricha. & Guy T'Sjoen. ··Endocrine Treatment of Gender­
Dysphoric/Gender Incongruent Persons: An Endocrine Society Clinical Practice Guideline," The Journal of
Clinical Endocrinology & Metabolism, Vol. I 02. pp. 3869-3903 (Nov. 2017).
123
    Data reported by the Departments of the Army, Navy, and Air Force (Oct.2017). Although the RAND study
observed that British troops who are undergoing hormone therapy are generally able to deploy if the ··hormone dose
is steady and there are no major side effects." it nevertheless acknowledged that ''deployment to all areas may not be
possible, depending on the needs associated with any medication (e.g.. refrigeration).'' RAND Study at 59.
124
     For example, assuming no complications. the recovery time for a hysterectomy is up to eight weeks; a
mastectomy is up to six weeks; a phalloplasty is up to three months; a metoidioplasty is up to 8 weeks; an
orchiectomy is up to 6 weeks; and a vaginoplasty is up to three months. See University of California, San Francisco,
Center of Excellence for Transgender Health, --Guidelines for the Primary and Gender-Affirming Care of
Transgender and Gender Nonbinary People." available at http://transhealth.ucsf.edu/trans?page=guidelines-home
(last visited Feb. 16, 2018); see also Discussion with Dr. Loren Schechter, Visiting Clinical Professor of Surgery.
University of Illinois at Chicago (Nov. 9, 2017).
 125
     RAND Study at 80; see also id. at 7; Irene Folaron & Monica Lovasz, "Military Considerations in Transsexual
Care of the Active Duty Member," Military Medicine, Vol. 181, p. 1184 (Oct. 2016) (noting that Endocrine Society
criteria ··require that the patient has been on continuous cross-sex hormones and has had continuous [real life
experience] or psychotherapy for the past 12 months").
            Case 2:25-cv-00241-BHS         Document 71-2           Filed 03/12/25         Page 38 of 48




reported that, from the time of diagnosis to the completion of a transition plan, the transitioning
Service members would be non-deployable for two to two-and-a-half years.126 On the other
hand, some commanders, as well as transgender Service members themselves, reported that
transition-related treatment is not a burden on unit readiness and could be managed to avoid
interfering with deployments, with one commander even reporting that a transgender Service
member with gender dysphoria under his command elected to postpone surgery in order to
deploy. 127 This conclusion was echoed by some experts in endocrinology who found no harm in
stopping or adjusting hormone therapy treatment to accommodate deployment during the first
year of hormone use.128 Of course, postponing treatment, especially during a combat
deployment, has risks of its own insofar as the treatment is necessary to mitigate the clinically
significant distress and impairment of functioning caused by gender dysphoria. After all, "when
Service members deploy and then do not meet medical deployment fitness standards, there is risk
for inadequate treatment within the operational theater, personal risk due to potential inability to
perform combat required skills, and the potential to be sent home from the deployment and
render the deployed unit with less manpower."129 In short, the periods of transition-related non­
availability and the risks of deploying untreated Service members with gender dysphoria are
uncertain, and that alone merits caution.

        Moreover, most mental health conditions, as well as the medication used to treat them,
limit Service members' ability to deploy. Any DSM-5 psychiatric disorder with residual
symptoms, or medication side effects, which impair social or occupational performance, require
a waiver for the Service member to deploy.130 The same is true for mental health conditions that
pose a substantial risk for deterioration or recurrence in the deployed environment. 131 In
managing mental health conditions while deployed. providers must consider the risk of
exacerbation if the individual were exposed to trauma or severe operational stress. These
determinations are difficult to make in the absence of evidence on the impact of deployment on
individuals with gender dysphoria.132

         The RAND study acknowledges that the inclusion of individuals with gender dysphoria
in the force will have a negative impact on readiness. According to RAND, foreign militaries
that allow service by personnel with gender dysphoria have found that it is sometimes necessary
to restrict the deployment of transitioning individuals, including those receiving hormone therapy
and surgery, to austere environments where their healthcare needs cannot be met. 133
Nevertheless, RAND concluded that the impact on readiness would be minimal-e.g., 0.0015%
of available deployable labor-years across the active and reserve components-because of the

126 Minutes, Transgender Review Panel (Oct. 13, 2017).
121
      Id.
128 Minutes, Transgender Review Panel (Nov. 9, 2017).
129
    Institute for Defense Analyses, ""Force Impact of Expanding the Recruitment of Individuals with Auditory
Impairment," pp. 60-61 (Apr. 2016).
130 Modification
                   Thirteen to U.S. Central Command Individual Protection and Individual, Unit Deployment Policy.
Tab A, p. 8 (Mar. 2017).
131 Id.
132 See generally Memorandum from the Assistant Secretary of Defense for Health Affairs, ··Clinical Practice

Guidance for Deployment-Limiting Mental Disorders and Psychotropic Medications," pp. 2-4 (Oct. 7, 2013).
133 RAND Study at 40.




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       Case 2:25-cv-00241-BHS                Document 71-2             Filed 03/12/25         Page 39 of 48




exceedingly small number of transgender Service members who would seek transition-related
treatment. 134 Even then, RAND admitted that the information it cited '·must be interpreted with
caution" because "much of the current research on transgender prevalence and medical treatment
rates relies on self-reported, nonrepresentative samples.'� 135 Nevertheless, by RAND's standard,
the readiness impact of many medical conditions that the Department has determined to be
disqualifying-from bipolar disorder to schizophrenia-would be minimal because they, too,
exist only in relatively small numbers. 136 And yet that is no reason to allow persons with those
conditions to serve.

        The issue is not whether the military can absorb periods of non-deployability in a small
population; rather, it is whether an individual with a particular condition can meet the standards
for military duty and, if not, whether the condition can be remedied through treatment that
renders the person non-deployable for as little time as possible. As the Department has noted
before: '"[W]here the operational requirements are growing faster than available resources," it is
imperative that the force ·"be manned with Service members capable of meeting all mission
demands. The Services require that every Service member contribute to full mission readiness,
regardless of occupation. In other words, the Services require all Service members to be able to
engage in core military tasks, including the ability to deploy rapidly, without impediment or
encumbrance." 137 Moreover, the Department must be mindful that ··an increase in the number of
non-deployable military personnel places undue risk and personal burden on Service members
qualified and eligible to deploy, and negatively impacts mission readiness." 138 Further, the
Department must be attuned to the impact that high numbers of non-deployable military
personnel places on families whose Service members deploy more often to backfill or
compensate for non-deployable persons.

        In sum, the available information indicates that there is inconclusive scientific evidence
that the serious problems associated with gender dysphoria can be fully remedied through
transition-related treatment and that, even if it could, most persons requiring transition-related
treatment could be non-deployable for a potentially significant amount of time. By this metric,
Service members with gender dysphoria who need transition-related care present a significant
challenge for unit readiness.

               2.       Incompatible with Sex-Based Standards. As discussed in detail earlier,
military personnel policy and practice has long maintained a clear line between men and women
where their biological differences are relevant with respect to physical fitness and body fat
standards; berthing, bathroom, and shower facilities; and uniform and grooming standards. This
line promotes good order and discipline, steady leadership, unit cohesion, and ultimately military

134 Id. at 42.
135 Id. at 39.
136 According
                to the National Institute of Mental Health, 2.8% of U.S. adults experienced bipolar disorder in the past
year, and 4.4% have experienced the condition at some time in their lives. National Institute of Mental Health,
.. Bipolar Disorder'' (Nov. 2017) https://www.nimh.nih.gov/health/statistics/bipolar-disorder.shtml. The prevalence
of schizophrenia is less than I%. National Institute of Mental Health... Schizophrenia'" (Nov. 2017)
https://www.nimh.nih.gov/health/statistics/schizophrenia.shtm I.
 137 Under Secretary of Defense for Personnel and Readiness, ·•Fiscal Year 2016 Report to Congress on the Review

of Enlistment of Individuals with Disabilities in the Armed Forces:· p. 9 (Apr. 2016).
 138 Id. at 10.



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      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 40 of 48




effectiveness and lethality because it ensures fairness, equity, and safety; satisfies reasonable
expectations of privacy; reflects common practice in the society from which we recruit; and
promotes core military values of dignity and respect between men and women. To exempt
Service members from the uniform, biologically-based standards applicable to their biological
sex on account of their gender identity would be incompatible with this line and undermine the
objectives such standards are designed to serve.

         First, a policy that permits a change of gender without requiring any biological changes
risks creating unfairness, or perceptions thereof, that could adversely affect unit cohesion and
good order and discipline. It could be perceived as discriminatory to apply different
biologically-based standards to persons of the same biological sex based on gender identity,
which is irrelevant to standards grounded in physical biology. For example, it unfairly
discriminates against biological males who identify as male and are held to male standards to
allow biological males who identify as female to be held to female standards, especially where
the transgender female retains many of the biological characteristics and capabilities of a male.
It is important to note here that the Carter policy does not require a transgender person to
undergo any biological transition in order to be treated in all respects in accordance with the
person's preferred gender. Therefore, a biological male who identifies as female could remain a
biological male in every respect and still be governed by female standards. Not only would this
result in perceived unfairness by biological males who identify as male, it would also result in
perceived unfairness by biological females who identify as female. Biological females who may
be required to compete against such transgender females in training and athletic competition
would potentially be disadvantaged. 139 Even more importantly, in physically violent training and
competition, such as boxing and combatives, pitting biological females against biological males
who identify as female, and vice versa, could present a serious safety risk as well. 140

        This concern may seem trivial to those unfamiliar with military culture. But vigorous
competition, especially physical competition, is central to the military life and is indispensable to
the training and preparation of warriors. Nothing encapsulates this more poignantly than the
words of General Douglas MacArthur when he was superintendent of the U.S. Military Academy
and which are now engraved above the gymnasium at West Point: "Upon the fields of friendly



139 See supra note I 09. Both the International Olympic Committee (IOC) and the National Collegiate Athletic
Association (NCAA) have attempted to mitigate this problem in their policies regarding transgender athletes. For
example, the IOC requires athletes who transition from male to female to demonstrate certain suppressed levels of
testosterone to minimize any advantage in women's competition. Similarly, the NCAA prohibits an athlete who has
transitioned from male to female from competing on a women's team without changing the team status to a mixed
gender team. While similar policies could be employed by the Department, it is unrealistic to expect the Department
to subject transgender Service members to routine hormone testing prior to biannual fitness testing, athletic
competition, or training simply to mitigate real and perceived unfairness or potential safety concerns. See, e.g.,
International Olympic Committee Consensus Meeting on Sex Reassignment and Hyperandrogensim (Nov. 2015),
https://stillmed.olympic.org/Documents/Commissions_PDFfiles/Medical_commission/2015-
11_ioc_consensus_meeting_on_sex_reassignment_and_hyperandrogenism-en.pdf; NCAA Office of Inclusion.
NCAA Inclusion of Transgender Student-Athletes (Aug. 2011). https://www.ncaa.org/sites/default/files/
Transgender_Handbook_201 l_Final.pdf.
140 See supra note 109.




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      Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 41 of 48




strife are sown the seeds that, upon other fields, on other days will bear the fruits of victory." 141
Especially in combat units and in training, including the Service academies, ROTC, and other
commissioning sources, Service members are graded and judged in significant measure based
upon their physical aptitude, which is only fitting given that combat remains a physical endeavor.

        Second, a policy that accommodates gender transition without requiring full sex
reassignment surgery could also erode reasonable expectations of privacy that are important in
maintaining unit cohesion, as well as good order and discipline. Given the unique nature of
military service, Service members of the same biological sex are often required to live in
extremely close proximity to one another when sleeping, undressing, showering, and using the
bathroom. Because of reasonable expectations of privacy, the military has long maintained
separate berthing, bathroom, and shower facilities for men and women while in garrison. In the
context of recruit training, this separation is even mandated by Congress. 142

        Allowing transgender persons who have not undergone a full sex reassignment, and thus
retain at least some of the anatomy of their biological sex, to use the facilities of their identified
gender would invade the expectations of privacy that the strict male-female demarcation in
berthing. bathroom, and shower facilities is meant to serve. At the same time, requiring
transgender persons who have developed, even if only partially, the anatomy of their identified
gender to use the facilities of their biological sex could invade the privacy of the transgender
person. Without separate facilities for transgender persons or other mitigating accommodations.
which may be unpalatable to transgender individuals and logistically impracticable for the
Department. the privacy interests of biological males and females and transgender persons could
be anticipated to result in irreconcilable situations. Lieutenants, Sergeants. and Petty Officers
charged with carrying out their units� assigned combat missions should not be burdened by a
change in eligibility requirements disconnected from military life under austere conditions.

        The best illustration of this irreconcilability is the report of one commander who was
confronted with dueling equal opportunity complaints-one from a transgender female (i.e., a
biological male with male genitalia who identified as female) and the other from biological
females. The transgender female Service member was granted an exception to policy that
allowed the Service member to live as a female. which included giving the Service member
access to female shower facilities. This led to an equal opportunity complaint from biological
females in the unit who believed that granting a biological male, even one who identified as a
female, access to their showers violated their privacy. The transgender Service member
responded with an equal opportunity complaint claiming that the command was not sufficiently
supportive of the rights of transgender persons. 143

        The collision of interests discussed above are a direct threat to unit cohesion and will
inevitably result in greater leadership challenges without clear solutions. Leaders at all levels
141 Douglas MacAruthur, Respectfully Quoted: A Dictiona,y of Qzwtations ( 1989). available at
http://www.bartleby.com/73/ I 874.htm I.
142 See supra note I 08.
143 Minutes, Transgender Review Panel (Oct. 13, 2017). Limited data exists regarding the performance of
transgender Service members due to policy restrictions in Department of Defense 1300.28, In-Service Transition.for
Transgender Service Members (Oct. 1. 2016), that prevent the Department from tracking individuals who may
identify as transgender as a potentially unwarranted invasion of personal privacy.

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        Case 2:25-cv-00241-BHS        Document 71-2        Filed 03/12/25      Page 42 of 48




already face immense challenges in building cohesive military units. Blurring the line that
differentiates the standards and policies applicable to men and women will only exacerbate those
challenges and divert valuable time and energy from military tasks.

         The unique leadership challenges arising from gender transition are evident in the
Department's handbook implementing the Carter policy. The handbook provides guidance on
various scenarios that commanders may face. One such scenario concerns the use of shower
facilities: "A transgender Service member has expressed privacy concerns regarding the open
bay shower configuration. Similarly, several other non-transgender Service members have
expressed discomfort when showering in these facilities with individuals who have different
genitalia." As possible solutions, the handbook offers that the commander could modify the
shower facility to provide privacy or, if that is not feasible, adjust the timing of showers.
Another scenario involves proper attire during a swim test: ''It is the semi-annual swim test and
a female to male transgender Service member who has fully transitioned, but did not undergo
surgical change, would like to wear a male swimsuit for the test with no shirt or other top
coverage." The extent of the handbook's guidance is to advise commanders that "[i]t is within
[their] discretion to take measures ensuring good order and discipline," that they should "counsel
the individual and address the unit, if additional options (e.g., requiring all personnel to wear
shirts) are being considered," and that they should consult the Service Central Coordination Cell,
a help line for commanders in need of advice.

         These vignettes illustrate the significant effort required of commanders to solve
challenging problems posed by the implementation of the current transgender service policies.
The potential for discord in the unit during the routine execution of daily activities is substantial
and highlights the fundamental incompatibility of the Department's legitimate military interest in
uniformity, the privacy interests of all Service members, and the interest of transgender
individuals in an appropriate accommodation. Faced with these conflicting interests,
commanders are often forced to devote time and resources to resolve issues not present outside
of military service. A failure to act quickly can degrade an otherwise highly functioning team, as
will failing to seek appropriate counsel and implementing a faulty solution. The appearance of
unsteady or seemingly unresponsive leadership to Service member concerns erodes the trust that
is essential to unit cohesion and good order and discipline.

         The RAND study does not meaningfully address how accommodations for gender
transition would impact perceptions of fairness and equity, expectations of privacy, and safety
during training and athletic competition and how these factors in tum affect unit cohesion.
Instead, the RAND study largely dismisses concerns about the impact on unit cohesion by
pointing to the experience of four countries that allow transgender service-Australia, Canada,
Israel, and the United Kingdom. 144 Although the vast majority of armed forces around the world
do not permit or have policies on transgender service. RAND noted that 18 militaries do, but
only four have well-developed and publicly available policies. 145 RAND concluded that "the
available research revealed no significant effect on cohesion, operational effectiveness, or


144
      RAND Study at 45.
145 Id. at 50.




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       Case 2:25-cv-00241-BHS               Document 71-2           Filed 03/12/25         Page 43 of 48




readiness." 146 It reached this conclusion, however, despite noting reports ofresistance in the
ranks, which is a strong indication ofan adverse effect on unit cohesion. 147 Nevertheless, RAND
acknowledged that the available data was "limited" and that the small number oftransgender
personnel may account for '"the limited effect on operational readiness and cohesion." 148

        Perhaps more importantly, however, the RAND study mischaracterizes or overstates the
reports upon which it rests its conclusions. For example, the RAND study cites Gays in Foreign
Militaries 2010: A Global Primer by Nathaniel Frank as support for the conclusions that there is
no evidence that transgender service has had an adverse effect on cohesion, operational
effectiveness, or readiness in the militaries ofAustralia and the United Kingdom and that
diversity has actually led to increases in readiness and performance. 149 But that particular study
has nothing to do with examining the service oftransgender persons; rather, it is about the
integration of homosexual persons into the military. 150

         With respect to transgender service in the Israeli military, the RAND study points to an
unpublished paper by Anne Speckhard and Reuven Paz entitled Transgender Service in the
Israeli Defense Forces: A Polar Opposite Stance to the U.S. Military Policy ofBarring
Transgender Soldiers from Service. The RAND study cites this paper for the proposition that
"'there has been no reported effect on cohesion or readiness" in the Israeli military and "there is
no evidence ofany impact on operational effectiveness." 151 These sweeping and categorical
claims, however, are based only on '"six in-depth interviews ofexperts on the subject both inside
and outside the [Israeli Defense Forces (IDF)]: two in the IDF leadership-including the
spokesman's office; two transgender individuals who served in the IDF, and two professionals
who serve transgender clientele-before, during and after their IDF service." 152 As the RAND
report observed, however: ""There do appear to be some limitations on the assignment of
transgender personnel, particularly in combat units. Because ofthe austere living conditions in
these types ofunits, necessary accommodations may not be available for Service members in the
midst ofa gender transition. As a result, transitioning individuals are typically not assigned to
combat units." 153 In addition, as the RAND study notes, under the Israeli policy at the time,
··assignment ofhousing, restrooms, and showers is typically linked to the birth gender, which
does not change in the military system until after gender reassignment surgery." 154 Therefore,
insofar as a Service member's change ofgender is not recognized until after sex reassignment


146
    Id. at 45.
141
    Id.
14s
    Id.
14
  9  Id.
150
     Nathaniel Frank, ·'Gays in Foreign Militaries 2010: A Global Primer," p. 6 The Palm Center(Feb. 2010),
https://www.palmcenter.org/wpcontent/uploads/2017/12/FOREIGNMILITARIESPRIMER20 I 0FINAL.pdf
("'This study seeks to answer some of the questions that have been, and will continue to be, raised surrounding the
instructive lessons from other nations that have lifted their bans on openly gay service.").
151
     Rand Study at 45.
152
     Anne Speckhard & Reuven Paz, ..Transgender Service in the Israeli Defense Forces: A Polar Opposite Stance to
the U.S. Military Policy of Barring Transgender Soldiers from Service," p. 3(2014), http://www.researchgate.net/
publication/280093066.
 153
     RAND Study at 56.
 154
     Id. at 55.


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         Case 2:25-cv-00241-BHS             Document 71-2            Filed 03/12/25         Page 44 of 48




surgery, the Israeli policy-and whatever claims about its impact on cohesion, readiness, and
operational effectiveness-are distinguishable from the Carter policy.

         Finally, the RAND study cites to a journal article on the Canadian military experience
entitled Gender Identity in the Canadian Forces: A Review ofPossible Impacts on Operational
Effectiveness by Alan Okros and Denise Scott. According to RAND, the authors of this article
··found no evidence of any effect on unit or overall cohesion." 155 But the article not only fails to
support the RAND study's conclusions (not to mention the article's own conclusions), but it
confirms the concerns that animate the Department's recommendations. The article
acknowledges, for example, the difficulty commanders face in managing the competing interests
at play:

            Commanders told us that the new policy fails to provide sufficient guidance as to
            how to weigh priorities among competing objectives during their subordinates'
            transition processes. Although they endorsed the need to consult transitioning
            Service members, they recognized that as commanding officers, they would be
            called on to balance competing requirements. They saw the primary challenge to
            involve meeting trans individuars expectations for reasonable accommodation
            and individual privacy while avoiding creating conditions that place extra burdens
            on others or undermined the overall team effectiveness. To do so, they said that
            they require additional guidance on a range of issues including clothing,
            communal showers, and shipboard bunking and messing arrangements. 156

       Notwithstanding its optimistic conclusions, the article also documents serious problems
with unit cohesion. The authors observe, for instance, that the chain of command "has not fully
earned the trust of the transgender personnel," and that even though some transgender Service
members do trust the chain of command, others ··expressed little confidence in the system,"
including one who said, ''I just don't think it works that well." 157

        In sum, although the foregoing considerations are not susceptible to quantification,
undermining the clear sex-differentiated lines with respect to physical fitness; berthing,
bathroom, and shower facilities; and uniform and grooming standards, which have served all
branches of Service well to date, risks unnecessarily adding to the challenges faced by leaders at
all levels, potentially fraying unit cohesion, and threatening good order and discipline. The
Department acknowledges that there are serious differences of opinion on this subject, even
among military professionals, including among some who provided input to the Panel of
Experts, 158 but given the vital interests at stake-the survivability of Service members, including


155
      Id. at 45.
156 Alan Okros & Denise Scott, ·•Gender Identity in the Canadian Forces," Armed Forces and Society Vol. 41, p. 8

(2014).
157 Id. at 9.
158 While
            differences of opinion do exist, it bears noting that, according to a Military Times/Syracuse University's
Institute for Veterans and Military Families poll, 41% of active duty Service members polled thought that allowing
gender transition would hurt their unit's readiness, and only 12% thought it would be beneficial. Overall, 57% had a
negative opinion of the Carter policy. Leo Shane III, •·Poll: Active-duty troops worry about military's transgender



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      Case 2:25-cv-00241-BHS                Document 71-2           Filed 03/12/25         Page 45 of 48




transgender persons, in combat and the military effectiveness and lethality of our forces-it is
prudent to proceed with caution, especially in light of the inconclusive scientific evidence that
transition-related treatment restores persons with gender dysphoria to full mental health.

                 3.     Imposes Disproportionate Costs. Transition-related treatment is also
proving to be disproportionately costly on a per capita basis, especially in light of the absence of
solid scientific support for the efficacy of such treatment. Since implementation of the Carter
policy, the medical costs for Service members with gender dysphoria have increased nearly three
times-or 300%-compared to Service members without gender dysphoria. 159 And this increase
is despite the low number of costly sex reassignment surgeries that have been performed so
far. 160 As noted earlier, only 34 non-genital sex reassignment surgeries and one genital surgery
have been completed, 161 with an additional 22 Service members requesting a waiver for genital
surgery. 162 We can expect the cost disparity to grow as more Service members diagnosed with
gender dysphoria avail themselves of surgical treatment. As many as 77% of the 424 Service
member treatment plans available for review include requests for transition-related surgery,
although it remains to be seen how many will ultimately obtain surgeries. 163 In addition, several
commanders reported to the Panel of Experts that transition-related treatment for Service
members with gender dysphoria in their units had a negative budgetary impact because they had
to use operations and maintenance funds to pay for the Service members' extensive travel
throughout the United States to obtain specialized medical care. 164

        Taken together, the foregoing concerns demonstrate why recognizing and making
accommodations for gender transition are not conducive to. and would likely undermine, the
inputs-readiness, good order and discipline. sound leadership, and unit cohesion-that are
essential to military effectiveness and lethality. Therefore, it is the Department's professional
military judgment that persons who have been diagnosed with, or have a history of, gender
dysphoria and require, or have already undergone, a gender transition generally should not be
eligible for accession or retention in the Armed Forces absent a waiver.

        C. Transgender Persons With a History or Diagnosis of Gender Dysphoria Are
           Disqualified. Except Under Certain Limited Circumstances.



policies," Milita1J' Times (July 27, 2017) available at https://www.militarytimes.com/news/pentagon­
congress/20 I 7/07127/pol I-active-duty-troops-worry-about-militarys-transgender-policies/.
159 Minutes, Transgender Review Panel (Nov. 2, 2017).
160
    Minutes, Transgender Review Panel (Nov. 2, 2017).
161
    Data retrieved from Military Health System Data Repository (Nov. 2017).
162
    Defense Health Agency Data (as of Feb. 2018).
163
    Data reported by the Departments of the Army, Navy, and Air Force (Oct. 2017).
164
    Minutes, Transgender Review Panel (Oct. I 3, 2017); see also Irene Folaron & Monica Lovasz, '"Military
Considerations in Transsexual Care of the Active Duty Member," Military Medicine, Vol. 181, p. l 185 (Oct. 2016)
(..As previously discussed, a new diagnosis of gender dysphoria and the decision to proceed with gender transition
requires frequent evaluations by the [mental health professional] and endocrinologist. However, most [military
treatment facilities] lack one or both of these specialty services. Members who are not in proximity to [military
treatment facilities] may have significant commutes to reach their required specialty care. Members stationed in
more remote locations face even greater challenges of gaining access to military or civilian specialists within a
reasonable distance from their duty stations.").

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      Case 2:25-cv-00241-BHS              Document 71-2          Filed 03/12/25        Page 46 of 48




        As explained earlier in greater detail, persons with gender dysphoria experience
significant distress and impairment in social, occupational, or other important areas of
functioning. Gender dysphoria is also accompanied by extremely high rates of suicidal ideation
and other comorbidities. Therefore, to ensure unit safety and mission readiness, which is
essential to military effectiveness and lethality, persons who are diagnosed with, or have a
history of, gender dysphoria are generally disqualified from accession or retention in the Armed
Forces. The standards recommended here are subject to the same procedures for waiver as any
other standards. This is consistent with the Department's handling of other mental conditions
that require treatment. As a general matter, only in the limited circumstances described below
should persons with a history or diagnosis of gender dysphoria be accessed or retained.

                I. Accession of Individuals Diagnosed with Gender Dysphoria. Given the
documented fluctuations in gender identity among children, a history of gender dysphoria should
not alone disqualify an applicant seeking to access into the Armed Forces. According to the
DSM-5, the persistence of gender dysphoria in biological male children "has ranged from 2.2%
to 30%," and the persistence of gender dysphoria in biological female children "has ranged from
12% to 50%." 165 Accordingly, persons with a history of gender dysphoria may access into the
Armed Forces, provided that they can demonstrate 36 consecutive months of stability-Le.,
absence of gender dysphoria-immediately preceding their application; they have not
transitioned to the opposite gender; and they are willing and able to adhere to all standards
associated with their biological sex. The 36-month stability period is the same standard the
Department currently applies to persons with a history of depressive disorder. The Carter
policy's 18-month stability period for gender dysphoria, by contrast, has no analog with respect
to any other mental condition listed in DoDI 6130.03.

                2.      Retention o,fService Members Diagnosed with Gender Dysphoria.
Retention standards are typically less stringent than accession standards due to training provided
and on-the-job performance data. While accession standards endeavor to predict whether a given
applicant will require treatment, hospitalization, or eventual separation from service for medical
unfitness, and thus tend to be more cautious� retention standards focus squarely on whether the
Service member, despite his or her condition, can continue to do the job. This reflects the
Department's desire to retain, as far as possible, the Service members in which it has made
substantial investments and to avoid the cost of finding and training a replacement. To use an
example outside of the mental health context, high blood pressure does not meet accession
standards, even if it can be managed with medication, but it can meet retention standards so long
as it can be managed with medication. Regardless, however, once they have completed
treatment, Service members must continue to meet the standards that apply to them in order to be
retained. Therefore, Service members who are diagnosed with gender dysphoria after entering
military service may be retained without waiver, provided that they are willing and able to
adhere to all standards associated with their biological sex, the Service member does not require
gender transition, and the Service member is not otherwise non-deployable for more than 12
months or for a period of time in excess of that established by Service policy (which may be less
than 12 months). 166

165
  DSM-5 at 455.
166
  Under Secretary of Defense for Personnel and Readiness, .. DoD Retention Policy for Non-Deployable Service
Members" (Feb. 14, 2018).

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     Case 2:25-cv-00241-BHS          Document 71-2        Filed 03/12/25      Page 47 of 48




                 3.    Exempting Current Service Members Who Have Already Received a
Diagnosis of Gender Dysphoria. The Department is mindful of the transgender Service
members who were diagnosed with gender dysphoria and either entered or remained in service
following the announcement of the Carter policy and the court orders requiring transgender
accession and retention. The reasonable expectation of these Service members that the
Department would honor their service on the terms that then existed cannot be dismissed.
Therefore, transgender Service members who were diagnosed with gender dysphoria by a
military medical provider after the effective date of the Carter policy, but before the effective
date of any new policy, may continue to receive all medically necessary treatment, to change
their gender marker in DEERS, and to serve in their preferred gender, even after the new policy
c ommenc es. This includes transgender Service members who entered into military service after
January 1, 2018, when the Carter accession policy took effect by court order. The Service
member must, however, adhere to the procedures set forth in DoDI 1300.28, and may not be
deemed to be non-deployable for more than 12 months or for a period of time in excess of that
established by Service policy (which may be less than 12 months). While the Department
believes that its commitment to these Service members, including the substantial investment it
has made in them, outweigh the risks identified in this report, should its decision to exempt these
Service members be used by a court as a basis for invalidating the entire policy, this exemption
instead is and should be deemed severable from the rest of the policy.




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     Case 2:25-cv-00241-BHS           Document 71-2        Filed 03/12/25     Page 48 of 48




                                            Conclusion

        In making these recommendations, the Department is well aware that military leadership
from the prior administration, along with RAND, reached a different judgment on these issues.
But as the forgoing analysis demonstrates, the realities associated with service by transgender
individuals are more complicated than the prior administration or RAND had assumed. In fact,
the RAND study itself repeatedly emphasized the lack of quality data on these issues and
qualified its conclusions accordingly. In addition, that study concluded that allowing gender
transition would impede readiness, limit deployability, and burden the military with additional
costs. In its view, however, such harms were negligible in light of the small size of the
transgender population. But especially in light of the various sources of uncertainty in this area,
and informed by the data collected since the Carter policy took effect, the Department is not
convinced that these risks could be responsibly dismissed or that even negligible harms should
be incurred given the Department's grave responsibility to fight and win the Nation's wars in a
manner that maximizes the effectiveness, lethality, and survivability of our most precious
assets-our Soldiers, Sailors. Airmen, Marines, and Coast Guardsmen.

        Accordingly, the Department weighed the risks associated with maintaining the Carter
policy against the costs of adopting a new policy that was less risk-favoring in developing these
recommendations. It is the Department's view that the various balances struck by the
recommendations above provide the best solution currently available, especially in light of the
significant uncertainty in this area. Although military leadership from the prior administration
reached a different conclusion, the Department's professional military judgment is that the risks
associated with maintaining the Carter policy-risks that are continuing to be better understood
as new data become available-counsel in favor of the recommended approach.




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